Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 1 of 46




                 EXHIBIT 1
             Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 2 of 46




 1
                                 UNITED STATES DISTRICT COURT
 2                              NORTHERN DISTRICT OF CALIFORNIA
 3
     IN RE TEZOS SECURITIES LITIGATION                            CASE NO. 17-cv-06779-RS
 4
 5
 6                       DECLARATION OF NICHOLAS SCHMIDT
                 REGARDING (A) ELECTRONIC MAILING OF NOTICE AND
 7           CLAIM FORM; (B) PUBLICATION OF SUMMARY NOTICE; (C) ONLINE
              CASE WEBSITE ADVERTISEMENTS; (D) CALL CENTER SERVICES;
 8             (E) POSTING OF NOTICE AND CLAIM FORM ON SETTLEMENT
                WEBSITE; AND (F) REPORT ON OBJECTIONS OR REQUESTS
 9                        FOR EXCLUSION RECEIVED TO DATE

10           I, Nicholas Schmidt, declare and state as follows:

11           1.      I am a Client Service Manager employed by Epiq Class Action & Claims Solutions,

12 Inc. (“Epiq”). Pursuant to the Court’s Order Preliminarily Approving Settlement and Providing
13 for Notice dated May 1, 2020 (Dkt. No. 251) (the “Preliminary Approval Order”), Epiq was
14
     authorized to act as the Claims Administrator for the Settlement in the above-captioned action (the
15
     “Action”).1
16
             2.      The following statements are based on my personal knowledge and information
17
18 provided by Epiq employees working under my supervision, and if called on to do so, I could and
19 would testify competently thereto.
20           3.      I submit this Declaration in order to provide the Court and the Parties to the
21
     Settlement with information regarding, among other things, the mailing of the Court-approved
22
     Notice of (I) Proposed Settlement and Plan of Allocation; (II) Settlement Fairness Hearing; and
23
24
25
         1
           Unless otherwise defined herein, all capitalized terms shall have the same meaning as set forth in the
26   Stipulation and Agreement of Settlement, dated March 20, 2020 (Dkt. No. 246-1) (the “Stipulation”) and/or
     the Preliminary Approval Order.
27

     DECLARATION OF NICHOLAS SCHMIDT
     Case No. 17-cv-06779-RS
                                                          -1-
             Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 3 of 46




     (III) Motion for an Award of Attorneys’ Fees and Reimbursement of Litigation Expenses (the
 1
 2 “Notice”) and the Claim Form (together, the “Notice Packet”), as well as the publication and
 3 transmission of the Summary Notice, and establishment of the website and toll-free number
 4 dedicated to this class action, in accordance with the Preliminary Approval Order.
 5     I.   DISSEMINATION OF THE NOTICE
 6
            4.      Pursuant to the Preliminary Approval Order, Epiq was responsible for
 7
     disseminating the Notice Packet to potential Settlement Class Members to the email addresses set
 8
     forth in the records provided by the Tezos Stiftung (the “Tezos Foundation”). By definition,
 9
10 Settlement Class Members are all persons and entities who directly or through an intermediary,
11 contributed bitcoin and/or ether to what the Defendants describe as a fundraiser and what the
12 Plaintiffs describe as an initial coin offering conducted by the Tezos Foundation between July 1,
13
     2017 and July 13, 2017, inclusive.
14
            5.      On May 18, 2020, Epiq received from the Tezos Foundation, the email addresses
15
     (the “Email List”) of potential members of the Settlement Class (as required by Paragraph 7(a) of
16
17 the Preliminary Approval Order), identifying potential contributors to the fundraiser during the
18 Settlement Class Period. The data received resulted in 59,489 unique electronic mailing records.
19 On May 29, 2020 (the “Initial Mailing”), Epiq emailed the Electronic Notice (the”E-Notice”) to
20 the 59,489 unique electronic mailing records contained in the data provided by the Tezos
21
     Foundation in a manner that was calculated to avoid being caught and excluded by spam filters or
22
     other devices intended to block mass email. Ultimately, 52,036 of the 59,489 E-Notices sent were
23
     not returned as undeliverable. Epiq could not deliver a total of 7,532 E-Notices sent by email
24
25 because the email address no longer existed, the email account was closed, the email address had
26 a bad domain name or address error, an inactive or disabled account, the recipient’s mailbox was
27

     DECLARATION OF NICHOLAS SCHMIDT
     Case No. 17-cv-06779-RS
                                                     -2-
                Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 4 of 46




     full, technical auto-replies, or the email addresses were invalid. A copy of the E-Notice is attached
 1
 2 hereto as Exhibit A. The E-Notice included a link to the Settlement website where Settlement
 3 Class Members could download a copy of the Notice and Claim Form or submit their claim online.
 4 A copy of the Notice and Claims Form is attached hereto as Exhibit B.
 5             6.       On June 1, 2020, pursuant to paragraph 7(d) of the Preliminary Approval Order,
 6
     Epiq commenced the publication of banner advertisements linking to the Tezos Foundation
 7
     Settlement Website on websites associated with Tezos and Cryptocurrency generally. These
 8
     websites included Twitter, Reddit, the Google Display Network and the Baidu Display Network.
 9
10 A list of the website impression totals for the banner advertisements on each of the websites are
11 attached hereto as Exhibit C.
12             7.       On June 18, 2020, pursuant to paragraph 7(b) of the Preliminary Approval Order,
13
     Epiq caused the Notice to be electrically mailed to the 59,490 email addresses to which the May
14
     29 notice was sent.2          Ultimately, 54,637 of the 59,490 Notices sent were not returned as
15
     undeliverable. Between the two mailings, Epiq could not deliver a total of 4,609 Notices sent by
16
17 email because the email address no longer existed, the email account was closed, the email address
18 had a bad domain name or address error, an inactive or disabled account, the recipient’s mailbox
19 was full, technical auto-replies, or the email addresses were invalid.
20    II.      PUBLICATION OF THE SUMMARY NOTICE
21
                8.      In accordance with Paragraph 7(e) of the Preliminary Approval Order, Epiq
22
     caused the Summary Notice of (I) Pendency of Class Action, Certification of Settlement Class,
23
     and Proposed Settlement; (II) Settlement Fairness Hearing; and (III) Motion for an Award of
24
25
26
         2
             An additional E-Notice was requested via the toll-free number and was sent on June 18, 2020.
27

     DECLARATION OF NICHOLAS SCHMIDT
     Case No. 17-cv-06779-RS
                                                                -3-
             Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 5 of 46




     Attorneys’ Fees and Reimbursement of Litigation Expenses (the “Summary Notice”) to be
 1
 2 disseminated via the PR Newswire on June 1, 2020.
 3   III.    TOLL-FREE TELEPHONE NUMBER AND SETTLEMENT WEBSITE

 4           9.     Epiq reserved a toll-free phone number for the Settlement, (866) 977-1042, and
 5 published that toll-free number in the Notice and on the Settlement Website. The toll-free number
 6
     became operational on May 29, 2020. The toll-free number connects callers with an Interactive
 7
     Voice Recording (“IVR”). The IVR provides potential Settlement Class Members and others who
 8
     call the toll-free telephone number access to additional information that has been pre-recorded.
 9
10 The toll-free telephone line with pre-recorded information is available 24 hours a day, 7 days a
11 week. Specifically, the pre-recorded message provides callers with a brief summary of the
12 Settlement and the option to select one of several more detailed recorded messages addressing
13
     frequently asked questions. The IVR also allows callers to request that a copy of the Notice and
14
     Claim Form be mailed to them or the caller may opt to speak live with a trained operator. Callers
15
     are able to speak to a live operator regarding the status of the Settlement and/or obtain answers to
16
17 questions they may have, Monday through Friday from 9:00 a.m. to 6:00 p.m. Eastern Time
18 (excluding official holidays). During other hours, callers may leave a message for an agent to call
19 them back. Epiq has promptly responded to each telephone inquiry and will continue to address
20 potential Settlement Class Members’ inquiries.
21
             10.    In accordance with Paragraph 7(c) of the Preliminary Approval Order, Epiq, in
22
     coordination with Lead Counsel, designed, implemented and currently maintains a website
23
     dedicated to the Action (www.TezosFoundationSettlement.com) (the “Settlement Website”). The
24
25 address for the Settlement Website is set forth in the Notice and in the Banner Advertisements.
26
27

     DECLARATION OF NICHOLAS SCHMIDT
     Case No. 17-cv-06779-RS
                                                      -4-
             Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 6 of 46




            11.     The Settlement Website became operational on May 29, 2020, and is accessible 24
 1
 2 hours a day, 7 days a week. Among other things, the Settlement website includes information
 3 regarding the Action and the proposed Settlement, including the exclusion, objection, and claim-
 4 filing deadlines and the date and time of the Court’s Settlement Hearing. In addition, copies of
 5 the Notice, Claim Form, Stipulation, Preliminary Approval Order, and other documents related to
 6
     the Action are posted on the Settlement Website and are available for downloading. Epiq will
 7
     continue operating, maintaining and, as appropriate, updating the Settlement Website until the
 8
     conclusion of this administration.
 9
10          12.     On July 23, 2020, Epiq updated the Settlement Website to include information that

11 Federal Lead Counsel and State Lead Counsel intend to ask the Court for permission to name the
12 San Francisco Food Bank (d/b/a SF-Marin Food Bank) as the 501(c)(3) non-profit organization
13
     which would receive “any balance not economically feasible to otherwise distribute which still
14
     remains in the Net Settlement Fund.”
15
     IV.    REQUESTS FOR EXCLUSION AND OBJECTIONS RECEIVED TO DATE
16
            13.     The Notice informs Settlement Class Members that requests for exclusion from the
17
18 Settlement Class must be received by August 6, 2020. The Notice directs Settlement Class
19 Members who wish to request exclusion to mail their request to In re Tezos Securities Litigation,
20 EXCLUSIONS, c/o Epiq, P.O. Box 3770, Portland, OR 97208-370. The Notice also sets forth the
21 information that must be included in each request for exclusion. Epiq monitors all mail delivered
22
     to this P.O. Box.
23
            14.     As of July 28, 2020, Epiq has received two (2) requests for exclusion for individual
24
25 retail investors who contributed 2.0 BTC and 9.9994 ETH and were allocated a total of 18,707.04
26 XTZ during the Class Period. Epiq will submit a supplemental declaration after the August 6,
27 2020 deadline addressing all requests for exclusion received.

     DECLARATION OF NICHOLAS SCHMIDT
     Case No. 17-cv-06779-RS
                                                      -5-
Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 7 of 46
Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 8 of 46




 EXHIBIT A
               Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 9 of 46
 From:         In re Tezos Securities Litigation Claims Administrator
               <info@TezosFoundationSettlement.com>
 Subject:      Proposed Tezos Foundation Class Action Settlement – Legal Notice


 Message:

 This message has been authorized by Order of the United States District Court, Northern District of California
 in the matter In re Tezos Securities Litigation, No. 3:17-cv-06779-RS.

                                       Please read this notice carefully.

            If you contributed money or cryptocurrency to the Tezos Foundation between July
            1, 2017 and July 13, 2017, you may be entitled to share in a $25 million settlement.

                     Your rights will be affected by a class action lawsuit pending in the
                       United States District Court, Northern District of California.

 Pursuant to Rule 23 of the Federal Rules of Civil Procedure and an Order of the United States District Court
 for the Northern District of California, the matter In re Tezos Securities Litigation, No. 3:17-cv-06779-RS (the
 “Action”) has been certified as a class action on behalf of a Settlement Class, except for certain persons and
 entities who are excluded from the Settlement Class by definition as set forth in the full Notice of Pendency of
 Class Action and Proposed Settlement; Settlement Fairness Hearing; and Motion for Award of Attorneys’
 Fees and Reimbursement of Litigation Expenses (available at www.TezosFoundationSettlement.com) (the
 “Notice”).

 Lead Plaintiff has reached a proposed settlement of the Action for $25,000,000 in cash (the
 “Settlement”) that, if approved, will resolve all claims in the Action.

 A hearing will be held on August 27, 2020, at 1:30 p.m., before the Honorable Richard G. Seeborg at the
 United States District Court, Northern District of California, San Francisco Courthouse, Courtroom 3, 17th
 Floor, 450 Golden Gate Avenue, San Francisco, CA 94102, to determine (i) whether the Proposed
 Settlement should be approved as fair, reasonable, and adequate; (ii) whether the Action should be dismissed
 with prejudice against Defendants, and the Releases specified and described in the Stipulation and
 Agreement of Settlement dated March 16, 2020, should be granted; (iii) whether the proposed Plan of
 Allocation should be approved as fair and reasonable; and (iv) whether Federal and State Lead Counsel’s
 application for an award of attorneys’ fees and expenses should be approved.

If you are a member of the Settlement Class, your rights will be affected by the pending Action and the
Settlement, and you may be entitled to share in the Settlement Fund. You should visit
www.TezosFoundationSettlement.com to review the full Notice and download or fill out the Proof of Claim and
Release Form (“Claim Form”). You may also obtain copies of the Notice and Claim Form by contacting the
Claims Administrator at In re Tezos Securities Litigation, c/o Epiq, P.O. Box 3770, Portland, OR 97208-3770,
1-866-977-1042 or 1-503-597-7670.

                                         IMPORTANT DEADLINES
        Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 10 of 46
 OCTOBER 16, 2020   To receive a payment under the Proposed Settlement:
                    If you are a Settlement Class Member, you must submit a Claim Form
                    through www.TezosFoundationSettlement.com on or before October 16,
                    2020, or through the mail with a postmark no later than October 16, 2020.
                    If you are a Settlement Class Member and do not submit a proper Claim
                    Form, you will not be eligible to share in the distribution of the net
                    proceeds of the Settlement, but you will nevertheless be bound by any
                    judgments or orders entered by the Court in the Action.
 AUGUST 6, 2020            To exclude yourself from the Proposed Settlement:
                           If you are a member of the Settlement Class, you may exclude yourself by
                           submitting a request for exclusion such that it is received no later than
                           August 6, 2020, in accordance with the instructions set forth in the
                           Notice. If you properly exclude yourself from the Settlement Class, you
                           will not be bound by any judgments or orders entered by the Court in the
                           Action and will not be eligible to share in the proceeds of the Settlement.
 AUGUST 6, 2020            To object to the Proposed Settlement, the Plan of Allocation, or Federal
                           and State Lead Counsel’s Motion for Attorneys’ Fees and Expenses:
                           Any objections to the Proposed Settlement, the proposed Plan of
                           Allocation, or to Federal and State Lead Counsel’s Motion for
                           Attorneys’ Fees and Expenses must be filed with the Court and
                           delivered to Federal and State Lead Counsel and Defendants’ Counsel
                           such that they are received no later than August 6, 2020, in
                           accordance with the instructions set forth in the notice.


Please do not contact the Court, the Clerk’s Office, the Tezos Foundation, or its counsel regarding this
notice. All questions about the notice, the Proposed Settlement, or your eligibility to participate in the
        Settlement should be directed to Federal Lead Counsel or to the Claims Administrator.

Inquiries, other than requests for the Notice and Claim Form, should be made to Federal Lead
Counsel:
                                             Block & Leviton LLP
                                                Jacob A. Walker
                                         260 Franklin Street, Suite 1860
                                               Boston, MA 02110
                                                 (617) 398-5600
                                        tezos-settlement@blockesq.com

The Notice, Claim Form, and additional information can be found at
www.TezosFoundationSettlement.com or by contacting the Claims Administrator at:

                                      In re Tezos Securities Litigation
                                                  c/o Epiq
                                               P.O. Box 3770
                                         Portland, OR 97208-3770
                             U.S. & Canada Toll-Free Number: (866) 977-1042
                                   International Number: (503) 597-7670
                               Email: info@TezosFoundationSettlement.com
                              Website: www.TezosFoundationSettlement.com

                                                                                       By Order of the Court
Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 11 of 46




  EXHIBIT B
                   Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 12 of 46

                                              UNITED STATES DISTRICT COURT
                                            NORTHERN DISTRICT OF CALIFORNIA

                                                                             Case No. 17-cv-06779-RS
    In re Tezos Securities Litigation
                                                                             Class Action


                                                            Notice of:
                                    (1) Pendency of Class Action and Proposed Settlement;
                                              (2) Settlement Fairness Hearing; and
                              (3) Motion for an Award of Attorneys’ Fees and Litigation Expenses

                                            The Federal Court has authorized this Notice.
                                               This is not a solicitation from a lawyer.



                                               Please read this Notice carefully.
                                   This Notice explains important rights you may have, including
                                         the possible receipt of cash from the Settlement.
                                             If you are a member of the Settlement Class,
                                       your legal rights will be affected whether or not you act.

                                                   Notice of Pendency of Class Action
    Please be advised that your rights may be affected by the above-captioned securities class action (the “Action”)1
    pending in the United States District Court for the Northern District of California (the “Court”), if, during the
    period between July 1, 2017 and July 13, 2017, inclusive (the “Settlement Class Period”), you directly or through an
    intermediary, contributed bitcoin and/or ether in what the Defendants describe as a fundraiser and what the plaintiffs
    describe as an initial coin offering, or ICO, conducted by the Tezos Foundation.
                                             Notice of Proposed Class Action Settlement
    Please also be advised that Federal Lead Plaintiff Trigon Trading Party Ltd. (“Federal Lead Plaintiff”) and State
    Plaintiff Andrew Baker (“State Plaintiff”), on behalf of themselves and the Settlement Class (as defined on page
    7 below), have reached a proposed settlement of the Litigations for $25,000,000.00 in cash that, if approved, will
    resolve all claims in the Litigations (the “Settlement”).




    1
     Capitalized terms used in this Notice that are not otherwise defined herein shall have the meaning ascribed to them in the Stipulation and
    Agreement of Settlement dated March 16, 2020 (the “Stipulation”), available at www.TezosFoundationSettlement.com.
                                                  QUESTIONS?
                PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                  OR VISIT www.TezosFoundationSettlement.com
AA4071 v.10                                                             1
                 Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 13 of 46

                                                       Important Dates

     October 16, 2020                  To receive a payment under the Proposed Settlement:
                                       If you are a Settlement Class Member, you must submit a Proof of Claim and
                                       Release form through www.TezosFoundationSettlement.com on or before October
                                       16, 2020, or through the mail with a postmark no later than October 16, 2020. If
                                       you are a Settlement Class Member and do not submit a proper Proof of Claim and
                                       Release form, you will not be eligible to share in the distribution of the net proceeds
                                       of the Settlement, but you will nevertheless be bound by any judgments or orders
                                       entered by the Court in the Action.

     August 6, 2020                    To exclude yourself from the Proposed Settlement:
                                       If you are a member of the Settlement Class, you may exclude yourself by submitting
                                       a request for exclusion such that it is received no later than August 6, 2020, in
                                       accordance with the instructions set forth in the Notice. If you properly exclude
                                       yourself from the Settlement Class, you will not be bound by any judgments or
                                       orders entered by the Court in the Action, and will not be eligible to share in the
                                       proceeds of the Settlement.

     August 6, 2020                    To object to the Proposed Settlement, the Plan of Allocation, or Federal and
                                       State Lead Counsel’s Motion for Attorneys’ Fees and Expenses:
                                       Any objections to the Proposed Settlement, the proposed Plan of Allocation, or
                                       to Federal and State Lead Counsel’s Motion for Attorneys’ Fees and Expenses
                                       must be filed with the Court and delivered to Federal and State Lead Counsel and
                                       Defendants’ Counsel such that they are received no later than August 6, 2020, in
                                       accordance with the instructions set forth in the Notice.



                                  Description of the Litigations and the Settlement Class
    This Notice relates to a proposed settlement of claims in pending securities class actions in California federal and state
    courts alleging, among other things, that Defendants Tezos Foundation (also referred to herein as the “Foundation”),
    Dynamic Ledger Solutions, Inc. (“DLS”), Arthur Breitman, and Kathleen Breitman, (collectively, the “Defendants”)
    violated federal securities laws by offering and selling Tezos tokens without filing a registration statement with the
    United States Securities and Exchange Commission (“SEC”) in violation of the Securities Act of 1933 (the “1933
    Act”). A more detailed description of the Litigations is set forth at pages 5-7 below. The Proposed Settlement, if
    approved by the Court, will settle claims of the Settlement Class, as defined on page 7 below.
                                        Statement of the Settlement Class’ recovery
    Subject to Court approval, Defendants and Federal Lead Plaintiff and State Plaintiff, on behalf of themselves and
    the Settlement Class, have agreed to settle the Litigations in exchange for a settlement payment of $25,000,000.00 in
    cash (the “Settlement Amount”) to be deposited into an escrow account. The Net Settlement Fund (i.e., the Settlement
    Amount plus all interest and accretions thereto (the “Settlement Fund”) less (a) any attorneys’ fees and expenses
    approved by the Court, (b) any Notice and Administration Expenses, (c) any Taxes and Tax Expenses, and (d) any
    other Court-approved deductions) will be distributed in accordance with a plan of allocation that is approved by the
    Court, which will determine how the Net Settlement Fund shall be allocated among members of the Settlement Class.
    The proposed plan of allocation (the “Plan of Allocation”) is set forth on pages 11-12 below.
                                            Average amount of damages per Tez:
    As explained above, the parties do not agree on the average amount of damages per genesis block XTZ that would be
    recoverable if the Federal Plaintiffs were to prevail in the Action. Among other things, Defendants do not agree with
    the assertion that they violated the federal securities laws or that any damages were suffered by any members of the
    Settlement Class as a result of their conduct.



                                                QUESTIONS?
              PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                OR VISIT www.TezosFoundationSettlement.com
AA4072 v.10                                                     2
                 Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 14 of 46

                                     Estimate of average amount of recovery per Tez:
    Good faith estimates of damages in this case vary significantly, and are dependent on a number of factors, including,
    but not limited to, (1) the price of Bitcoin (“BTC”), Ethereum (“ETH”), and Tez (“XTZ”) at the time that a class
    member sold or transferred XTZ allocated to him or her from the genesis block proposed by the Tezos Foundation
    (which cannot be definitively determined from the public blockchain); (2) the number of Tez which have gone
    unclaimed because of lost passwords or a refusal to participate in Know Your Customer processes, versus those
    that are unclaimed by choice (for example, for security reasons); and (3) the appropriate measure of damages (for
    example, calculating damages in Bitcoin, Ethereum, US Dollars, some combination of the three, or otherwise).
    Estimates presented by the parties during mediation discussions of total damages if Defendants were to be found
    liable ranged from less than $1 million to over $150 million US Dollars. As a result, the estimated range of recovery
    for Settlement Class Members is between 16% of their estimated damages to significantly more than their estimated
    damages (before deducting any Court-approved fees, expenses, and costs as described herein) depending on various
    factors unknown to the parties at this time. Distributions to the Settlement Class will be made based on the Plan of
    Allocation set forth herein (see pages 11-12 below), or such other plan of allocation that may be ordered by the Court.
                                           Attorneys’ fees and expenses sought:
    Federal and State Lead Counsel, who have been prosecuting the Litigations on a wholly contingent basis since their
    inception in 2017, have not received any payment of attorneys’ fees for their representation of the Settlement Class
    and have advanced the funds to pay expenses necessarily incurred to prosecute the Litigations. Federal and State
    Lead Counsel will apply to the Court for an award of attorneys’ fees for all Plaintiffs’ Counsel in an amount not
    to exceed one-third of the Settlement Fund. In addition, Federal and State Lead Counsel will apply for an award of
    expenses incurred in connection with prosecuting the Litigations in an amount not to exceed $300,000.00, which
    may include an application for reimbursement of the reasonable costs and expenses incurred by Federal Plaintiffs and
    State Plaintiff directly related to their representation of the Settlement Class.
    Any fees and expenses awarded by the Court, or any Federal Plaintiff or State Plaintiff award, shall be paid solely
    from the Settlement Fund and shall be paid to Federal and State Lead Counsel, or with respect to a Federal Plaintiff
    or State Plaintiff award, paid to Federal Plaintiffs and State Plaintiff, within five days following an award ordered by
    the Court, provided there has been a final approval of the Stipulation of Settlement by the Court not subject to further
    review. If there is any appeal of an award of attorneys’ fees and expenses, or of a Federal Plaintiff or State Plaintiff
    award, Federal and State Lead Counsel shall repay any amount of attorneys’ fees or expenses reversed on appeal to
    the Settlement Fund. Settlement Class Members are not personally liable for any such fees or expenses.
                                        Identification of attorneys’ representatives:
    You can reach counsel for Federal Lead Plaintiff and the Settlement Class through attorney Jacob A. Walker, Block &
    Leviton LLP, 260 Franklin Street, Suite 1860, Boston, MA 02110, (617) 398-5600, tezos-settlement@blockesq.com.
                                                Reasons for the Settlement:
    Federal Lead Plaintiff and State Plaintiff’s principal reason for entering into the Settlement is the substantial
    immediate cash benefit for the Settlement Class without the risk or the delays inherent in further litigation. Federal
    Lead Plaintiff and State Plaintiff recognize the expense and time it would take to prosecute the Litigations against
    Defendants through trial and through any subsequent appeals. Likewise, Federal Lead Plaintiff and State Plaintiff
    have taken into account the uncertain outcome and the risk of any litigation, especially in complex actions such as the
    Litigations, as well as the difficulties and delays inherent in such litigation. Defendants, who deny all allegations of
    wrongdoing or liability whatsoever, are entering into the Settlement to eliminate the uncertainty, burden and expense
    of further protracted litigation.




                                                QUESTIONS?
              PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                OR VISIT www.TezosFoundationSettlement.com
AA4073 v.10                                                    3
                      Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 15 of 46


                                                             WHAT THIS NOTICE CONTAINS
    Why did I get the electronic Notice? ................................................................................................................... Page 5
    What are the Litigations about? ........................................................................................................................... Page 5
    How do I know if I am affected by the Settlement? ............................................................................................ Page 7
       Who is included in the Settlement Class? ..................................................................................................... Page 7
    What are Plaintiffs’ reasons for the Settlement? .................................................................................................. Page 7
    What might happen if there were no Settlement? ................................................................................................ Page 8
    How are Settlement Class Members affected by the Litigations and the Settlement? ........................................ Page 8
    How do I participate in the Settlement? ............................................................................................................ Page 10
       What do I need to do? .................................................................................................................................. Page 10
    How much will my payment be? ....................................................................................................................... Page 10
    What is the proposed Plan of Allocation?........................................................................................................... Page 11
    What payment are the attorneys for the Settlement Class seeking? .................................................................. Page 13
       How will the lawyers be paid? .................................................................................................................... Page 13
    What if I do not want to be a member of the Settlement Class? ........................................................................ Page 13
       How do I exclude myself? ........................................................................................................................... Page 13
    When and where will the Court decide whether to approve the Settlement? .......................................................... Page 13
       Do I have to come to the hearing? ............................................................................................................... Page 13
       May I speak at the hearing if I don’t like the Settlement? .......................................................................... Page 13
    Can I see the Court file? Whom should I contact if I have questions? .............................................................. Page 15




                                                    QUESTIONS?
                  PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                    OR VISIT www.TezosFoundationSettlement.com
AA4074 v.10                                                                         4
                 Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 16 of 46

                                                Frequently Asked Questions

                                           Why did I get the electronic Notice?
    The Court directed that the Electronic Notice be emailed to you because you may have, directly or through an
    intermediary, contributed bitcoin and/or ether to what the Defendants describe as a fundraiser and what the plaintiffs
    describe as an initial coin offering conducted by the Foundation during the Settlement Class Period. The Court also
    directed that this Notice be posted online at www.TezosFoundationSettlement.com and mailed at the request of
    Settlement Class Members. The Court has directed us to disseminate these Notices because, as a potential Settlement
    Class Member, you have a right to know about your options before the Court rules on the proposed Settlement.
    Additionally, you have the right to understand how the proposed Settlement may generally affect your legal rights.
    If the Court approves the Settlement, and the Plan of Allocation (or some other plan of allocation), the Claims
    Administrator selected by Federal Lead Plaintiff and approved by the Court will make payments pursuant to the
    Settlement after any objections and appeals are resolved.
    The purpose of this Notice is to inform you of the existence of the Litigations, that they are class actions, how you
    might be affected, and how to exclude yourself from the Settlement Class if you wish to do so. It is also being sent to
    inform you of the terms of the proposed Settlement, and of a hearing to be held by the Court to consider the fairness,
    reasonableness, and adequacy of the Settlement, the proposed Plan of Allocation and the motion by Federal and State
    Lead Counsel for an award of attorneys’ fees and expenses (the “Settlement Hearing”). See pages 13-14 below for
    details about the Settlement Hearing, including the date and location of the hearing.
    The issuance of this Notice is not an expression of any opinion by the Court concerning the merits of any claim in the
    Litigations, and the Court still has to decide whether to approve the Settlement. If the Court approves the Settlement
    and a plan of allocation, then payments to Authorized Claimants will be made after any appeals are resolved and after
    the completion of all claims processing. Please be patient, as this process can take some time to complete.

                                             What are the Litigations about?
    The Federal Litigation
    The Federal Litigation is a consolidated putative securities class action brought in the United States District Court for
    the Northern District of California by Federal Lead Plaintiffs individually and on behalf of all persons or entities who
    contributed digital currencies, including Bitcoin and/or Ethereum, to what the Defendants describe as a fundraiser
    and what the plaintiffs describe as an initial coin offering conducted by the Foundation in July 2017.
    The initial complaint in the Federal Litigation alleged claims under the 1933 Act and was filed against Defendants
    DLS, Arthur Breitman, Kathleen Breitman (together, the “DLS Defendants”) and the Tezos Foundation on November
    26, 2017, styled GGCC, LLC v. Dynamic Ledger Solutions, Inc., Case No. 3:17-cv-06779-RS. ECF No. 1. The Federal
    Litigation was assigned to United States District Judge Richard Seeborg on November 27, 2017.
    On March 16, 2018, the Court appointed Arman Anvari (“Anvari”) as lead plaintiff and LTL Attorneys LLP (“LTL”)
    and Hung G. Ta, Esq. PLLC (“HGT Law”) as lead counsel. ECF No. 96. Also on that date, the Court consolidated
    related actions and restyled the Federal Litigation In re Tezos Securities Litigation, Case No. 3:17-cv-06779-RS.
    Anvari filed the Consolidated Complaint for Violation of the Federal Securities Laws on April 3, 2018. ECF No. 108.
    The complaint alleged violations of §§ 5 and 12(a)(1) of the 1933 Act against the DLS Defendants, the Foundation,
    Bitcoin Suisse AG (“Bitcoin Suisse”), Timothy Draper (“Draper”), and Draper Associates V Crypto LLC (“Draper
    Associates”) (Draper and Draper Associates referred to as the “Draper Defendants”), and § 15 of the 1933 Act
    against the DLS Defendants and the Draper Defendants. Anvari asserted that Defendants offered and sold Tezos
    tokens without filing a registration statement with the United States Securities and Exchange Commission (“SEC”)
    in violation of the 1933 Act.
    Following briefing on Defendants’ motions to dismiss and oral argument, on August 7, 2018, the Court denied the
    motion to dismiss as to the claims against the DLS Defendants and the Tezos Foundation, but granted the motion to
    dismiss filed by Bitcoin Suisse and the Draper Defendants. ECF No. 148. The Court granted Anvari leave to amend
    with respect to the Draper Defendants, but dismissed the claims against Bitcoin Suisse with prejudice. Id.



                                                QUESTIONS?
              PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                OR VISIT www.TezosFoundationSettlement.com
AA4075 v.10                                                    5
                 Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 17 of 46

    Anvari elected not to amend the complaint, and the Draper Defendants were dismissed from the Federal Litigation
    with prejudice on August 31, 2018. ECF No. 163.
    The parties thereafter engaged in document and deposition discovery.
    On December 14, 2018, Anvari and Defendants engaged in an in-person mediation before Professor Eric D. Green.
    The mediation was preceded by submission of mediation statements and exhibits by each party. Settlement discussions
    were unsuccessful.
    On January 9, 2019, named plaintiffs Artiom Frunze (“Frunze”) and Pumaro LLC (“Pumaro”) moved to certify a
    class, to appoint Frunze and Pumaro as the class representatives, and to appoint LTL and HGT Law as class counsel.
    ECF No. 187-3. Plaintiffs’ motion sought to certify the following class:
                    All persons and entities who, directly or indirectly, contributed Bitcoin or Ethereum
                    to the Tezos Initial Coin Offering conducted in July 2017. Excluded from the Class
                    are Defendants, and any person, firm, trust, corporation, or other entity related to or
                    affiliated with any Defendant.
    Id. On January 25, 2019, Anvari moved to withdraw and substitute named plaintiff Frunze as lead plaintiff. ECF No.
    196. Trigon filed a competing motion to appoint itself as lead plaintiff on January 30, 2019. ECF No. 198.
    On April 8, 2019, the Court granted Anvari’s motion to withdraw as lead plaintiff, granted Trigon’s motion to
    substitute as lead plaintiff, denied the pending class certification motion with leave to amend, and appointed Block
    & Leviton LLP and HGT Law as co-lead counsel. ECF No. 213.
    Between August, 2018, and December, 2019, written discovery was exchanged by the parties, subpoenas were served
    on non-parties, and several discovery motions were litigated. Several Federal Plaintiffs were deposed. ECF Nos. 219,
    222, 223, 231, 232, 233, 234, 235, 236, 237, and 238.
    The State Litigation
    On October 25, 2017, plaintiff Andrew Baker (“Baker”) filed the first class action complaint asserting securities
    laws violations in connection with what the Defendants describe as a fundraiser and what the plaintiffs describe as
    an initial coin offering conducted by the Foundation, in the Superior Court of California, County of San Francisco
    (the “State Litigation”). The State Litigation alleged that the DLS Defendants, the Tezos Foundation, Johann Gevers
    (“Gevers”) and Strange Brew Strategies (“Strange Brew”) had violated §§ 5(a), 5(c), 17(a)(1), 17(a)(2), and 17(a)(3) of
    the 1933 Act related to the sale of unregistered securities.
    On November 29, 2017, Defendants removed the State Litigation to the United States District Court for the Northern
    District of California, where it was assigned to the Honorable Richard Seeborg. Baker moved to remand the case to
    California state court. On February 1, 2018, Judge Seeborg stayed the State Litigation pending the Supreme Court’s
    decision in Cyan, Inc. v. Beaver County Employees Retirement Fund, et al., Case No. 15-1439 (Baker v. Dynamic
    Ledger Solutions, Inc., et al., Case No. 17-cv-6850, Dkt. No. 18), which presented the question of whether state courts
    had concurrent jurisdiction over certain class actions filed under the 1933 Act.
    On March 20, 2018, the Supreme Court issued its opinion in Cyan, Inc. v. Beaver County Employees Retirement
    Fund, 138 S.Ct. 1061 (2018), and the Court thereafter remanded the State Litigation to state court on April 19, 2018.
    On June 22, 2018, Baker filed his First Amended Complaint (“FAC”) in the State Litigation, alleging that beginning
    in July 2017, the DLS Defendants, the Foundation, Gevers, the Draper Defendants, Strange Brew, and Bitcoin
    Suisse (collectively, “State Court Defendants”) engaged in an unregistered public sale of securities. The FAC
    alleged two causes of action: (1) violation of §§5 and 12(a)(1) of the 1933 Act against all State Court Defendants; and
    (2) violations of § 15 of the 1933 Act against the DLS Defendants, the Draper Defendants and Gevers (the “Control
    Person Defendants”).
    On May 16, 2019, following document productions by DLS, Baker filed his Second Amended Complaint (“SAC”).
    The SAC asserted the same two causes of action as the FAC, but added additional factual allegations based on
    document discovery obtained from DLS. The SAC did not name Strange Brew as a defendant.
    On June 10, 2019, the DLS and Draper Defendants filed demurrers to the SAC. On July 24, 2019, the Foundation and
    Gevers filed motions to quash service of summons.
    During 2019, the DLS Defendants continued to provide additional documentary discovery to Baker.
                                                QUESTIONS?
              PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                OR VISIT www.TezosFoundationSettlement.com
AA4076 v.10                                                   6
                  Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 18 of 46

    On August 28, 2019, the State Court granted the Tezos Foundation’s motion to quash service of summons and the
    Draper Defendants’ demurrer. With respect to the Draper Defendants’ demurrer, Baker was granted leave to amend,
    and on September 17, 2019, he filed his Third Amended Complaint (“TAC”) as to the Draper Defendants. Baker filed
    a Motion for Reconsideration of the Order granting the Tezos Foundation’s motion to quash on September 9, 2019. On
    September 24, 2019, the State Court also granted Gevers’ motion to quash service of summons. On October 9, 2019,
    the Draper Defendants demurred to the TAC. A hearing on these motions has not taken place and no order has issued.
    Mediation and Settlement
    On November 22, 2019, Federal and State Lead Counsel engaged in an in-person mediation conference with
    Defendants before the Honorable Layn Phillips (Ret.) of Phillips ADR Enterprises, P.C. The parties submitted and
    exchanged both opening mediation statements and reply statements, along with supporting exhibits. The parties
    also conducted pre-mediation teleconferences with representatives of Phillips ADR Enterprises, P.C. The parties
    then engaged in arm’s-length negotiations during the mediation session. At the end of the conference, Judge Phillips
    facilitated a settlement between Federal and State Lead Counsel and counsel for the Tezos Foundation and the DLS
    Defendants that was documented in a binding term sheet. Thereafter, all parties reached an agreement-in-principle
    to resolve the Litigations on the terms set forth in the Stipulation, subject to approval by the Court.
    On, May 1, 2020, the Court preliminarily approved the Settlement, authorized the Electronic Notice to be emailed to
    potential Settlement Class Members and this Notice to be posted online, as well as approved the dissemination of other
    forms of notice, and scheduled the Settlement Hearing to consider whether to grant Final approval to the Settlement.

                                   How do I know if I am affected by the Settlement?
                                      Who is included in the Settlement Class?
    If you are a member of the Settlement Class, you are subject to the Settlement, unless you timely request to be
    excluded. The Settlement Class consists of:
              All persons and entities who, directly or through an intermediary, contributed Bitcoin and/or Ethereum
              to what the Defendants describe as a fundraiser and what the plaintiffs describe as an initial coin offering
              conducted by the Foundation between July 1, 2017, and July 13, 2017, inclusive.
    Excluded from the Settlement Class are (i) Defendants; (ii) members of the immediate family of Arthur Breitman,
    Kathleen Breitman, Johann Gevers, or Timothy Draper; (iii) any person who was an officer or director of the
    Foundation, DLS, Draper Associates, or Bitcoin Suisse during the Fundraiser/ICO and any members of their
    immediate families; (iv) any parent, subsidiary, or affiliate of the Foundation, DLS, Draper Associates, or Bitcoin
    Suisse; (v) any firm, trust, corporation, or other entity in which any Defendant or any other excluded person or entity
    had a controlling interest during the Fundraiser/ICO; and (vi) the legal representatives, agents, affiliates, heirs,
    successors-in-interest, or assigns of any such excluded persons or entities. Also excluded from the Settlement
    Class are those Persons who timely and validly request exclusion. See “What if I do not want to be a member of
    the Settlement Class? How do I exclude myself?”, on page 13 below.
    PLEASE NOTE: RECEIPT OF THE ELECTRONIC NOTICE DOES NOT MEAN THAT YOU ARE A
    SETTLEMENT CLASS MEMBER OR THAT YOU WILL BE ENTITLED TO RECEIVE PROCEEDS FROM
    THE SETTLEMENT.
    If you are a Settlement Class Member and you wish to be eligible to participate in the distribution of proceeds
    from the Settlement, you are required to submit the Proof of Claim and Release form that is available online at
    www.TezosFoundationSettlement.com or which can be mailed to you upon request to the Claims Administrator,
    and the required supporting documentation as set forth therein, online through the website or postmarked no
    later than October 16, 2020.

                                    What are Plaintiffs’ reasons for the Settlement?
    Federal Lead Plaintiff and State Plaintiff and Federal and State Lead Counsel believe that the claims asserted against
    Defendants have merit. They recognize, however, the expense and time it would take to prosecute the Litigations
    against Defendants through trial and through any subsequent appeals. Likewise, they have taken into account the
    uncertain outcome and the risk of any litigation, especially in complex actions such as the Litigations, as well as the
    difficulties and delays inherent in such litigation.

                                                  QUESTIONS?
                PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                  OR VISIT www.TezosFoundationSettlement.com
AA4077 v.10                                                    7
                 Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 19 of 46

    In addition to the risks inherent in this type of litigation generally, these Litigations included additional risks which
    reduced the likelihood that Plaintiffs could succeed in recovering any or all damages alleged in the Litigations.
    Among those risks were (1) the risk that a class could not be certified; (2) the risk that damages could not be collected
    from the Tezos Foundation, which is located in Switzerland; (3) the risks associated with litigating a case concerning
    cryptocurrency, which is a new and quickly developing field of law; (4) the risk that the Court would ultimately
    conclude that Tez were not securities; (5) the risks associated with the fluctuating prices of Bitcoin, Ethereum, and
    Tez, which could have the effect of reducing or eliminating any measure of damages.
    In light of these risks, the amount of the Settlement and the immediacy of recovery to the Settlement Class, Federal
    Lead Plaintiff and State Plaintiff and Federal and State Lead Counsel believe that the proposed Settlement is fair,
    reasonable and adequate, and in the best interests of the Settlement Class. They believe that the Settlement provides
    a substantial benefit to the Settlement Class, namely $25,000,000.00 in cash (less the various deductions described in
    this Notice), as compared to the risk that the claims in the Action would produce a smaller, or no recovery after class
    certification, summary judgment, trial and appeals, possibly years in the future.
    Defendants have denied the claims asserted against them in the Litigations and deny having engaged in any
    wrongdoing or violation of law of any kind whatsoever. Defendants have agreed to the Settlement to eliminate the
    burden and expense of continued litigation. Accordingly, the Settlement may not be construed as an admission of any
    wrongdoing by Defendants.

                                   What might happen if there were no Settlement?
    If there were no Settlement and Federal Lead Plaintiff failed to establish any essential legal or factual element of
    their claims against Defendants, neither Federal Lead Plaintiff nor the other members of the Settlement Class would
    recover anything from Defendants. Also, if Defendants were successful in proving any of their defenses, either at
    class certification, at summary judgment, at trial or on appeal, the Settlement Class could recover substantially less
    than the amount provided in the Settlement, or nothing at all.

              How are Settlement Class Members affected by the Litigations and the Settlement?
    As a Settlement Class Member, you are represented by Federal Lead Plaintiff and Federal Lead Counsel, unless you
    enter an appearance through counsel of your own choice at your own expense. You are not required to retain your
    own counsel, but if you choose to do so, such counsel must file a notice of appearance on your behalf and must serve
    copies of his or her appearance on the attorneys listed in the section entitled, “When and where will the Court decide
    whether to approve the Settlement?”, on pages 13-14 below.
    If you are a Settlement Class Member and do not wish to remain a Settlement Class Member, you may exclude
    yourself from the Settlement Class by following the instructions in the section entitled, “What if I do not want to be
    a member of the Settlement Class? How do I exclude myself?”, on page 13 below.
    If you are a Settlement Class Member and you wish to object to the Settlement, the Plan of Allocation, or Federal and
    State Lead Counsel’s application for an award of attorneys’ fees and Litigation Expenses, and if you do not exclude
    yourself from the Settlement Class, you may present your objections by following the instructions in the section
    entitled, “When and where will the Court decide whether to approve the Settlement?”, on pages 13-14 below.
    If you are a Settlement Class Member and you do not exclude yourself from the Settlement Class, you will be bound
    by any orders issued by the Court. If the Settlement is approved, the Court will enter a judgment (the “Judgment”).
    The Judgment will dismiss with prejudice the claims against Defendants and will provide that, upon the Effective
    Date of the Settlement, Federal Lead Plaintiff and State Plaintiff and each of the other Settlement Class Members, on
    behalf of themselves, and their respective heirs, executors, administrators, predecessors, successors, and assigns in
    their capacities as such, will have fully, finally and forever compromised, settled, released, resolved, relinquished,
    waived and discharged each and every Released Claim (as defined below) against the Released Defendants (as defined
    on page 9 below), and shall forever be barred and enjoined from prosecuting any or all of the Released Claims against
    any of the Released Defendants.
    “Released Claims” means any and all claims, demands, rights, causes of action, and liabilities of every nature and
    description (including Unknown Claims as defined herein), whether known or unknown, contingent or absolute,
    liquidated or not liquidated, accrued or unaccrued, suspected or unsuspected, disclosed or undisclosed, apparent or
    not apparent, foreseen or unforeseen, matured or not matured, which now exist, heretofore or previously existed, or

                                                 QUESTIONS?
               PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                 OR VISIT www.TezosFoundationSettlement.com
AA4078 v.10                                                    8
                  Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 20 of 46

    may hereafter exist, including but not limited to, any claims arising under federal, state, common, or foreign law,
    that Plaintiffs or any other member of the Settlement Class asserted in the Consolidated Complaint for Violations
    of the Federal Securities Laws filed in the Federal Action on April 3, 2018, as amended, or the Second Amended
    Complaint filed in the State Action, on May 16, 2019, or could have asserted in either the Federal Action or the State
    Action or could in the future assert in any forum that concern, arise out of, refer to, are based upon, or are related
    in any manner to the allegations, transactions, facts, matters, occurrences, representations, statements, or omissions
    alleged, involved, set forth, or referred to in any of the Litigations. Notwithstanding the foregoing, “Released Claims”
    does not include claims relating to the enforcement of the Settlement, nor does this release cover, include, or release
    any claims by any governmental entity that arise out of any governmental investigation of Defendants relating to the
    conduct alleged in the Action.
    “Released Defendants” means each and all of the Defendants (i.e., DLS, Arthur Breitman, Kathleen Breitman, and
    the Foundation) and each of their Related Parties, as well as Johann Gevers, Timothy Draper, Draper Associates, and
    Bitcoin Suisse.
    “Unknown Claims” means (i) any Released Claims that Releasing Plaintiffs and Settlement Class Members do not
    know or suspect to exist in his, her or its favor at the time of the release, which, if known by him, her or it, might
    have affected his, her or its settlement with and release of the Released Defendants, or might have affected his,
    her or its decision not to object to this settlement or seek exclusion from this settlement, and (ii) any Releasing
    Defendants’ Claims that Defendants do not know or suspect to exist in his, her or its favor at the time of the release,
    which, if known by him, her, or it, might have affected his, her or its settlement with and release of the Released
    Plaintiffs and Settlement Class Members. With respect to any and all Released Claims and Releasing Defendants’
    Claims, the Settling Parties stipulate and agree that, upon the Effective Date, Federal Lead Plaintiff and State Plaintiff
    shall expressly waive and each of the Settlement Class Members shall be deemed to have, and by operation of the
    Judgment shall have, expressly waived the provisions, rights, and benefits of California Civil Code §1542 and any
    law of the United States, or any state or territory thereof, or principle of common law or foreign law, which is similar,
    comparable, or equivalent to California Civil Code §1542, which provides:
              A general release does not extend to claims that the creditor or releasing party does not know or
              suspect to exist in his or her favor at the time of executing the release and that, if known by him or
              her, would have materially affected his or her settlement with the debtor or released party.
    Releasing Plaintiffs and Settlement Class Members may hereafter discover facts in addition to or different from
    those which he, she or it now knows or believes to be true with respect to the subject matter of the Released Claims,
    but Federal Lead Plaintiff and State Plaintiff shall fully, finally, and forever settle and release and each Settlement
    Class Member, upon the Effective Date, shall be deemed to have, and by operation of the Judgment shall have, fully,
    finally, and forever settled and released any and all Released Claims, known or unknown, suspected or unsuspected,
    contingent or non-contingent, disclosed or undisclosed, matured or unmatured, whether or not concealed or hidden,
    which now exist, or heretofore have existed, upon any theory of law or equity now existing or coming into existence
    in the future, including, but not limited to, conduct which is negligent, intentional, with or without malice, or a
    breach of any duty, law or rule, without regard to the subsequent discovery or existence of such different or additional
    facts. Federal Lead Plaintiff and State Plaintiff acknowledge, and the Settlement Class Members shall be deemed by
    operation of the Judgment to have acknowledged, that the foregoing waiver was separately bargained for and a key
    element of the Settlement of which this release is a part.
    The Judgment will also provide that, upon the Effective Date, each of the Defendants shall be deemed to have, and by
    operation of the Judgment shall have, fully, finally, and forever released, relinquished, and discharged all Releasing
    Defendants’ Claims (including Unknown Claims) against Released Plaintiffs and Settlement Class Members, and
    Federal and State Lead Counsel, whether arising under federal, state, common or foreign law. Upon the Effective
    Date, the Defendants will be forever barred and enjoined from commencing, instituting, prosecuting or continuing to
    prosecute any action or other proceeding in any court of law or equity, arbitration tribunal, or administrative forum,
    asserting the Releasing Defendants’ Claims against any of the Released Plaintiffs and Settlement Class Members, and
    Federal and State Lead Counsel. Defendants are aware of the California Civil Code §1542 and expressly waive and
    relinquish any rights or benefits available to them under this statute.
    “Releasing Defendants’ Claims” means all claims and causes of action of every nature and description, whether
    known or unknown, whether arising under federal, state, common or foreign law, that arise out of or relate in any
    way to the institution, prosecution, or settlement of the Litigations or the Released Claims against the Defendants.
    Notwithstanding the foregoing, “Releasing Defendants’ Claims” does not include claims relating to the enforcement
    of the Settlement.

                                                  QUESTIONS?
                PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                  OR VISIT www.TezosFoundationSettlement.com
AA4079 v.10                                                     9
                 Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 21 of 46

    “Releasing Plaintiffs and Settlement Class Members” means Federal Plaintiffs, State Plaintiff, each Settlement Class
    Member, and to the fullest extent permissible under law, each of their Related Parties.

                                         How do I participate in the Settlement?
                                                 What do I need to do?
    To be eligible for a payment from the proceeds of the Settlement, you must be a member of the Settlement Class and you
    must timely complete and submit the Proof of Claim and Release form with adequate supporting documentation online
    through the website or postmarked no later than October 16, 2020. A Proof of Claim and Release form is available on
    the website maintained by the Claims Administrator for the Settlement, www.TezosFoundationSettlement.com, or you
    may request that a Proof of Claim and Release form be mailed to you by calling the Claims Administrator toll free at
    (866) 977-1042 or (503) 597-7670. Please retain all records of your contribution to the Tezos Fundraiser/ICO and any
    sales of allocated XTZ, as they may be needed to document your Claim. If you request exclusion from the Settlement
    Class or do not submit a timely and valid Proof of Claim and Release form, you will not be eligible to share in the Net
    Settlement Fund.

                                              How much will my payment be?
    At this time, it is not possible to make any determination as to how much any individual Settlement Class Member
    may receive from the Settlement.
    Pursuant to the Settlement, Defendants have agreed to pay or caused to be paid twenty five million dollars
    ($25,000,000.00) in cash. The Settlement Amount will be deposited into an escrow account. The Settlement Amount
    plus any interest earned thereon is referred to as the “Settlement Fund.” If the Settlement is approved by the Court
    and the Effective Date occurs, the “Net Settlement Fund” (that is, the Settlement Fund less (a) all federal, state and/
    or local taxes on any income earned by the Settlement Fund and the reasonable costs incurred in connection with
    determining the amount of and paying Taxes owed by the Settlement Fund (including reasonable expenses of Tax
    attorneys and accountants); (b) the costs and expenses incurred in connection with providing notice to Settlement
    Class Members and administering the Settlement on behalf of Settlement Class Members; and (c) any attorneys’
    fees and expenses awarded by the Court) will be distributed to Settlement Class Members who submit valid Proof of
    Claim and Release forms, in accordance with the proposed Plan of Allocation or such other plan of allocation as the
    Court may approve.
    The Net Settlement Fund will not be distributed unless and until the Court has approved the Settlement and a plan of
    allocation, and the time for any petition for rehearing, appeal or review, whether by certiorari or otherwise, has expired.
    Neither Defendants nor any other person or entity that paid any portion of the Settlement Amount on their behalf are
    entitled to get back any portion of the Settlement Fund once the Court’s order or judgment approving the Settlement
    becomes Final. Defendants shall not have any liability, obligation or responsibility for the administration of the
    Settlement, the disbursement of the Net Settlement Fund or the Plan of Allocation.
    Approval of the Settlement is independent from approval of a plan of allocation. Any determination with respect to a
    plan of allocation will not affect the Settlement, if approved.
    Unless the Court otherwise orders, any Settlement Class Member who fails to submit a Proof of Claim and Release
    form on or before October 16, 2020, shall be fully and forever barred from receiving payments pursuant to the
    Settlement but will in all other respects remain a Settlement Class Member and be subject to the provisions of the
    Stipulation, including the terms of any Judgment entered and the releases given. This means that each Settlement
    Class Member releases the Released Claims (as defined on pages 8-9 above) against the Released Defendants (as
    defined on page 9 above) and will be enjoined and prohibited from filing, prosecuting, or pursuing any of the Released
    Claims against any of the Released Defendants whether or not such Settlement Class Member submits a Proof of
    Claim and Release form.
    The Court has reserved jurisdiction to allow, disallow, or adjust on equitable grounds the Claim of any Settlement
    Class Member.
    Each Claimant shall be deemed to have submitted to the jurisdiction of the Court with respect to his, her or its Proof
    of Claim and Release form.


                                                 QUESTIONS?
               PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                 OR VISIT www.TezosFoundationSettlement.com
AA40710 v.10                                                    10
                       Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 22 of 46
    Only Settlement Class Members will be eligible to share in the distribution of the Net Settlement Fund. Persons and
    entities who are excluded from the Settlement Class by definition or who exclude themselves from the Settlement
    Class pursuant to request will not be eligible to receive a distribution from the Net Settlement Fund and should not
    submit Proof of Claim and Release forms.

                                           What is the proposed Plan of Allocation?
    1.       The objective of the Plan of Allocation is to equitably distribute the Net Settlement Fund to Settlement Class
    Members. The calculations made pursuant to the Plan of Allocation are not intended to be estimates of, nor indicative
    of, the amounts that Settlement Class Members might have been able to recover after a trial. Nor are the calculations
    pursuant to the Plan of Allocation intended to be estimates of the amounts that will be paid to Authorized Claimants
    pursuant to the Settlement. The computations under the Plan of Allocation are only a method to weigh the claims of
    Authorized Claimants against one another for the purposes of making pro rata allocations of the Net Settlement Fund.
    2.       “Recognized Loss Amounts” (as described below in paragraphs 4-5) are based on the difference in the value of
    (1) contributions made to what Plaintiffs describe as the Tezos blockchain “Initial Coin Offering” and what
    Defendants describe as a fundraiser conducted in July, 2017, (the “July 2017 Tezos Contributions”) and (2)
    the corresponding genesis block XTZ at the time of sale or, if the XTZ were not sold, at the time the parties
    entered into a settlement, as set forth in greater detail below. For individuals who have never claimed, activated,
    used, delegated, sold or transferred (“accessed”) their tokens, Recognized Loss Amounts are based on the
    value of the July 2017 Tezos Contributions. Accordingly, in order to have a Recognized Loss Amount under
    the Plan of Allocation, a Settlement Class Member must provide both (1) proof of their contribution, and
    (2) proof of either (a) their sale of XTZ, (b) their current possession of XTZ allocated to them in the Tezos genesis block, or
    (c) the fact the Settlement Class Member has not accessed the XTZ tokens allocated to such member in the Tezos
    genesis block as described in paragraph 7, below.
    3.      Unless otherwise defined, all terms used herein have the same meanings as set forth in the Stipulation of
    Settlement dated March 16, 2020 (the “Stipulation”), which, together with the Exhibits annexed thereto, sets forth the
    terms and conditions for a proposed settlement of the Federal Litigation and for dismissal of the Federal Litigation
    and the State Litigation with prejudice upon the terms and conditions set forth therein.
                                     CALCULATION OF RECOGNIZED LOSS AMOUNTS
    4.      Based on the formula stated below, a Recognized Loss Amount will be calculated for each allocation of
    genesis block XTZ listed on the Proof of Claim and Release form for which adequate documentation is provided. If
    a Recognized Loss Amount calculates to a negative number or zero under the formula below, the Recognized Loss
    Amount will be zero.
    5.      For each genesis block XTZ allocated to a Settlement Class Member for a contribution made during the
    period from July 1, 2017, through and including the close of trading on July 13, 2017, and:
               (i)       old from July 14, 2017, through and including 6:31 a.m. PST on November 25, 2019, the Recognized
                        S
                        Loss Amount will be the contribution amount in Bitcoin per Tez, minus the price at which the genesis
                        block XTZ was sold in Bitcoin per Tez. If the genesis block XTZ was purchased in Ether, it will be
                        converted to Bitcoin per Tez using the exchange prices listed in Table 1 on the date of the purchase.
               (ii)      eld as of 6:32 a.m. PST on November 25, 2019, the time at which a settlement in principle was
                        H
                        reached, the Recognized Loss Amount will be the contribution amount in Bitcoin per Tez, minus
                        the price of XTZ at 6:32 a.m. PST on November 25, 2019, 0.000178 BTC/XTZ. If the genesis block
                        XTZ was purchased in Ether, it will be converted to Bitcoin per Tez using the exchange prices listed
                        in Table 1 on the date of the purchase. In no event shall the recognized loss per Tez held be less than
                        0.00001 BTC.
               (iii)    Have not been accessed, the Recognized Loss Amount will be equal to the contribution amount in
                        Bitcoin per Tez. If the genesis block XTZ was purchased in Ether, it will be converted to Bitcoin per
                        Tez using the exchange prices listed in Table 1 on the date of the purchase.
                                                   ADDITIONAL PROVISIONS
    6.      Sales of Genesis Block XTZ Not Executed in Bitcoin: In the case of sales executed in a currency other than
    BTC, the sale price in BTC will be used. Table 1 provides the closing price in BTC/XTZ, ETH/XTZ, and ETH/BTC
    for conversion purposes.
                                                   QUESTIONS?
                 PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                   OR VISIT www.TezosFoundationSettlement.com
AA40711 v.10                                                      11
                 Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 23 of 46

    7.       Claimants Who Have Not Accessed XTZ: A claimant who seeks to submit a claim under paragraph 5(iii)
    must submit a valid Proof of Claim and Release form and sign a declaration under penalty of perjury in which the
    claimant (a) represents that he, she or it has not accessed, and does not intend to access, the XTZ at issue, either
    due to a lost private key or password or due to an objection to providing “Know Your Customer” information to
    the Foundation, and that no other entity has or has ever had access to their private key or password; (b) agrees (i) to
    destroy all copies of the private key for the XTZ at issue, and (ii) to never access the XTZ at issue; (c) acknowledges
    that he, she or it forfeits any rights to the XTZ at issue and understands that the Tezos community may vote to
    destroy such tokens; (d) agrees that, if the claimant subsequently accesses the XTZ at issue in violation of his, her
    or its agreement not to do so, the claimant shall be liable to the Foundation for damages in the amount of the USD
    value of the XTZ at the time of such access, plus any amounts expended by the Foundation in seeking to enforce
    this provision, including without limitation attorneys’ fees, court costs, and other expenses, all plus interest, to the
    maximum extent permitted by law; and (e) consents to the jurisdiction of the courts of California (for U.S. residents)
    or Switzerland (for non-U.S. residents) with respect to any dispute regarding this provision. The Tezos Foundation
    will monitor the accounts of claimants under paragraph 5(iii) and, in the event of a violation of this provision, has and
    reserves all rights to pursue legal claims against the claimant.
    8.        Calculation of Claimant’s “Recognized Claim”: A claimant’s “Recognized Claim” will be the sum of his,
    her, or its Recognized Loss Amounts as calculated above with respect to genesis block XTZ allocated to a Settlement
    Class Member in connection with any and all July 2017 Tezos Contributions.
    9.      Conversion of Claimant’s “Recognized Claim” to USD: Recognized Loss Amounts are calculated in terms of
    Bitcoin per Tez. Bitcoin losses will then be converted to USD using the conversion price at 6:32 a.m. PST on November
    25, 2019, the time at which a settlement in principle was reached. At that time, the price of Bitcoin was $7,242.58.
    10.     Determination of Distribution Amount: Each Authorized Claimant shall receive his, her, or its pro rata share
    of the Net Settlement Fund. The pro rata share will be the Authorized Claimant’s Recognized Claim divided by the total
    of Recognized Claims of all Authorized Claimants, multiplied by the total amount in the Net Settlement Fund.
    11.      If an Authorized Claimant’s Distribution Amount calculates to less than $10.00, no distribution will be made
    to that Authorized Claimant.
    12.      After the initial distribution of the Net Settlement Fund, the Claims Administrator will make reasonable and
    diligent efforts to have Authorized Claimants cash their distribution checks. To the extent any monies remain in the Net
    Settlement Fund a reasonable time after the initial distribution, and if Federal Lead Counsel, in consultation with the
    Claims Administrator, determine that it is cost-effective to do so, the Claims Administrator will conduct a redistribution
    of the funds remaining after payment of any unpaid fees and expenses incurred in administering the Settlement, including
    for such redistribution, to Authorized Claimants who have cashed their initial distributions and who would receive at
    least $10.00 from such redistribution. Additional redistributions to Authorized Claimants who have cashed their prior
    checks and who would receive at least $10.00 on such additional redistributions may occur thereafter if Federal Lead
    Counsel, in consultation with the Claims Administrator, determine that additional redistributions, after the deduction of
    any additional fees and expenses incurred in administering the Settlement, including for such redistributions, would be
    cost-effective. At such time as it is determined that the redistribution of funds remaining in the Net Settlement Fund is
    not cost-effective, the remaining balance will be contributed to non-sectarian, not-for-profit, 501(c)(3) organization(s), to
    be recommended by Federal Lead Counsel and approved by the Court.
    Payment pursuant to the Plan of Allocation, or such other plan of allocation as may be approved by the Court,
    will be conclusive against all Authorized Claimants. No person shall have any claim against Federal Plaintiffs,
    Federal Lead Counsel, State Plaintiff, State Lead Counsel, Released Defendants, Claims Administrator or any
    of their respective counsel, damages experts, consulting experts, or other agent arising from distributions made
    substantially in accordance with the Stipulation, the plan of allocation approved by the Court, or further Orders of
    the Court. Among other things, Federal Plaintiffs, State Plaintiff, Released Defendants, and their respective counsel
    shall have no responsibility or liability whatsoever for the investment or distribution of the Settlement Fund or the
    Net Settlement Fund; the Plan of Allocation; the determination, administration, calculation, or payment of any claim
    or nonperformance of the Claims Administrator; the payment or withholding of Taxes; or any losses incurred in
    connection therewith.
    13.     The Plan of Allocation stated herein is the plan that is being proposed to the Court for its approval by
    Federal Plaintiffs and State Plaintiff after consultation with their damages expert. The Court may approve this plan as
    proposed or it may modify the Plan of Allocation without further notice to the Settlement Class. Any Orders regarding
    any modification of the Plan of Allocation will be posted on the case website, www.TezosFoundationSettlement.com.

                                                 QUESTIONS?
               PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                 OR VISIT www.TezosFoundationSettlement.com
AA40712 v.10                                                     12
                  Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 24 of 46


                        What payment are the attorneys for the Settlement Class seeking?
                                         How will the lawyers be paid?
    Federal and State Lead Counsel have not received any payment for their services in pursuing claims against the
    Defendants on behalf of the Settlement Class, nor have Federal and State Lead Counsel been paid for their Litigation
    Expenses. Before final approval of the Settlement, Federal and State Lead Counsel will apply to the Court for an
    award of attorneys’ fees for all Plaintiffs’ Counsel in an amount not to exceed one-third of the Settlement Fund. At
    the same time, Federal and State Lead Counsel also intend to apply for an award of Litigation Expenses in an amount
    not to exceed $300,000.00, which may include an application for reimbursement of the reasonable costs and expenses
    incurred by Federal Plaintiffs and State Plaintiff directly related to their representation of the Settlement Class. The
    Court will determine the amount of any award of attorneys’ fees and Litigation Expenses. Such sums as may be
    approved by the Court will be paid from the Settlement Fund. Settlement Class Members are not personally liable
    for any such fees or expenses.

                           What if I do not want to be a member of the Settlement Class?
                                              How do I exclude myself?
    Each Settlement Class Member will be bound by all determinations and judgments in the Litigations, whether
    favorable or unfavorable, unless such person or entity mails or delivers a written Request for Exclusion from the
    Settlement Class, addressed to In re Tezos Securities Litigation, EXCLUSIONS, c/o Epiq, P.O. Box 3770, Portland,
    OR 97208-3770. The exclusion request must be received no later than August 6, 2020. You will not be able to
    exclude yourself from the Settlement Class after that date.
    Each Request for Exclusion must state: (i) the name, address and telephone number of the person or entity requesting
    exclusion, and in the case of entities the name and telephone number of the appropriate contact person; (ii) state that such
    person or entity “requests exclusion from the Settlement Class in In re Tezos Securities Litigation, No. 3:17-cv-06779-RS”;
    (iii) state the date and amount of Bitcoin or Ethereum contributed to the Tezos Foundation in July 2017, the number of Tezos
    tokens (i.e., Tez or XTZ) allocated to such person or entity in connection with the contribution; as well as the date or dates
    of any sale or distribution of Tezos tokens (i.e., Tez or XTZ); and provide documentary proof of the above; and (iv) be signed
    by the Person or entity requesting exclusion or an authorized representative. A request for exclusion shall not be effective
    unless it provides all the information required and is received within the time stated above, or is otherwise accepted by the
    Court. Group opt-outs, including “mass” or “class” opt outs, are prohibited.
    If you do not want to be part of the Settlement Class, you must follow these instructions for exclusion even if you have
    pending, or later file, another lawsuit, arbitration, or other proceeding relating to any Released Claim against any of
    the Released Defendants.
    If you ask to be excluded from the Settlement Class, you will not be eligible to receive any payment out of the Net
    Settlement Fund.
    The Tezos Foundation has the right to terminate the Settlement if valid requests for exclusion are received from
    persons and entities entitled to be members of the Settlement Class in an amount that exceeds 5% of all XTZ tokens
    allocated in the Tezos genesis block (i.e., 38,000,000 XTZ tokens).

                   When and where will the Court decide whether to approve the Settlement?
                                      Do I have to come to the hearing?
                          May I speak at the hearing if I don’t like the Settlement?
    Settlement Class Members do not need to attend the Settlement Hearing. The Court will consider any
    submission made in accordance with the provisions below even if a Settlement Class Member does not attend
    the hearing. You can participate in the Settlement without attending the Settlement Hearing.
    The Settlement Hearing will be held on August 27, 2020, at 1:30 p.m., before the Honorable Richard G. Seeborg at
    the United States District Court, Northern District of California, San Francisco Courthouse, Courtroom 3, 17th Floor,
    450 Golden Gate Avenue, San Francisco, CA 94102. The Court reserves the right to approve the Settlement, the Plan of
    Allocation, Federal and State Lead Counsel’s motion for an award of attorneys’ fees and litigation expenses and/or any
    other matter related to the Settlement at or after the Settlement Hearing without further notice to the members of the
    Settlement Class.

                                                 QUESTIONS?
               PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                 OR VISIT www.TezosFoundationSettlement.com
AA40713 v.10                                                     13
                 Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 25 of 46

    Any Settlement Class Member who or which does not request exclusion may object to the Settlement, the proposed
    Plan of Allocation or Federal and State Lead Counsel’s motion for an award of attorneys’ fees and litigation expenses.
    Objections must be in writing. You must file any written objection, together with copies of all other papers and
    briefs supporting the objection, with the Clerk’s Office at the United States District Court for the Northern District
    of California at the address set forth below on or before August 6, 2020. You must also serve the papers on Federal
    Lead Counsel and on Defendants’ Counsel at the addresses set forth below so that the papers are received on or
    before August 6, 2020.

                           Federal Lead Counsel                            Defendants’ Counsel
                            Block & Leviton LLP                          Davis Polk & Wardwell LLP
                         Attn: Jacob A. Walker, Esq.                       Attn: Neal Potischman
                        260 Franklin Street, Suite 1860                     1600 El Camino Real
                              Boston, MA 02110                             Menlo Park, CA 94025

                                                                            Baker Marquart LLP
                                                                             Attn: Brian E. Klein
                                                                      777 S. Figueroa Street, Suite 2850
                                                                           Los Angeles, CA 90017
    Any objection: (a) must state the name, address and telephone number of the person or entity objecting and must be
    signed by the objector; (b) must contain a statement of the Settlement Class Member’s objection or objections, and the
    specific reasons for each objection, including any legal and evidentiary support the Settlement Class Member wishes
    to bring to the Court’s attention; and (c) must include documents sufficient to prove membership in the Settlement
    Class, including the amount of Bitcoin/Ethereum that the objecting Settlement Class Member contributed during the
    Settlement Class Period (i.e., between July 1, 2017 and July 13, 2017, inclusive), as well as the dates and prices of each
    such contribution. You may not object to the Settlement, the Plan of Allocation or Federal and State Lead Counsel’s
    motion for attorneys’ fees and litigation expenses if you exclude yourself from the Settlement Class or if you are not
    a member of the Settlement Class.
    You may file a written objection without having to appear at the Settlement Hearing. You may not, however, appear
    at the Settlement Hearing to present your objection unless you first file and serve a written objection in accordance
    with the procedures described above, unless the Court orders otherwise.
    If you wish to be heard orally at the hearing in opposition to the approval of the Settlement, the Plan of Allocation
    or Federal and State Counsel’s motion for an award of attorneys’ fees and Litigation Expenses, and if you timely file
    and serve a written objection as described above, you must also file a notice of appearance with the Clerk’s Office
    and serve it on Federal Lead Counsel and Defendants’ Counsel at the addresses set forth above so that it is received
    on or before August 6, 2020. Persons who intend to object and desire to present evidence at the Settlement Hearing
    must include in their written objection or notice of appearance the identity of any witnesses they may call to testify
    and exhibits they intend to introduce into evidence at the hearing. Such Persons may be heard orally at the discretion
    of the Court.
    You are not required to hire an attorney to represent you in making written objections or in appearing at the Settlement
    Hearing. However, if you decide to hire an attorney, it will be at your own expense, and that attorney must file a notice
    of appearance with the Court and serve it on Federal Lead Counsel and Defendants’ Counsel at the addresses set forth
    in ¶ 3 above so that the notice is received on or before August 6, 2020.
    The Settlement Hearing may be adjourned by the Court without further written notice to the Settlement Class. If you
    intend to attend the Settlement Hearing, you should confirm the date and time with Federal Lead Counsel.
    Unless the Court orders otherwise, any Settlement Class Member who does not object in the manner described
    above will be deemed to have waived any objection and shall be forever foreclosed from making any objection
    to the proposed Settlement, the proposed Plan of Allocation or Federal and State Lead Counsel’s motion for
    an award of attorneys’ fees and litigation expenses. Settlement Class Members do not need to appear at the
    Settlement Hearing or take any other action to indicate their approval.




                                                 QUESTIONS?
               PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                 OR VISIT www.TezosFoundationSettlement.com
AA40714 v.10                                                   14
                 Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 26 of 46


                      Can I see the Court file? Whom should I contact if I have questions?
    This Notice contains only a summary of the terms of the proposed Settlement. For more detailed information about
    the matters involved in this Action, you are referred to the papers on file in the Action, including the Stipulation,
    which may be inspected during regular office hours at the Office of the Clerk, United States District Court for the
    Northern District of California, United States Courthouse, 450 Golden Gate Avenue, San Francisco, CA 94102.
    Additionally, copies of the Stipulation and any related orders entered by the Court will be posted on the website
    maintained by the Claims Administrator, www.TezosFoundationSettlement.com.
    All inquiries concerning this Notice and the Proof of Claim and Release form should be directed to the Claims
    Administrator or Federal Lead Counsel at:

                            Federal Lead Counsel                           Claims Administrator
                             Block & Leviton LLP                      In re Tezos Securities Litigation
                          Attn: Jacob A. Walker, Esq.                              c/o Epiq
                         260 Franklin Street, Suite 1860                        P.O. Box 3770
                               Boston, MA 02110                           Portland, OR 97208-3770
                        tezos-settlement@blockesq.com             U.S. & Canada Toll-Free (866) 977-1042
                                                                   International Number: (503) 597-7670
                                                                  info@TezosFoundationSettlement.com

               Do not call or write the Court, the Office of the Clerk of the Court, Defendants, or their
                                            counsel regarding this Notice.
                      Direct all inquiries to the Claims Administrator or to counsel for Plaintiffs.
    By Order of the Court
    United States District Court
    Northern District of California

    Published on May 29, 2020




                                                 QUESTIONS?
               PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                 OR VISIT www.TezosFoundationSettlement.com
AA40715 v.10                                                 15
                     Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 27 of 46

                                                            TABLE 1:
                                                 Currency Conversion Closing Prices

           DATE        BTC/XTZ      ETH/XTZ          ETH/BTC              DATE        BTC/XTZ      ETH/XTZ       ETH/BTC
          7/1/2017     0.00066604   0.00590495       8.86580481         8/19/2017     0.00032143   0.00453155   14.09789222
          7/2/2017     0.00034145   0.00297175       8.70332303         8/20/2017     0.00042244   0.00572869   13.56089308
          7/3/2017     0.00028731   0.00260402       9.06348533         8/21/2017     0.00037861   0.00471128   12.44360832
          7/4/2017     0.00032880   0.00313000       9.51935602         8/22/2017     0.00045424   0.00591696   13.02620795
          7/5/2017     0.00027370   0.00264970       9.68110280         8/23/2017     0.00049895   0.00652368   13.07482993
          7/6/2017     0.00039071   0.00376714       9.64169285         8/24/2017     0.00053275   0.00709223   13.31249040
          7/7/2017     0.00051591   0.00528233      10.23887150         8/25/2017     0.00049833   0.00656333   13.17064353
          7/8/2017     0.00045276   0.00462535      10.21589193         8/26/2017     0.00048497   0.00632203   13.03582125
          7/9/2017     0.00034924   0.00363237      10.40075989         8/27/2017     0.00047273   0.00595562   12.59846503
         7/10/2017     0.00032833   0.00361713      11.01671620         8/28/2017     0.00052562   0.00662430   12.60290439
         7/11/2017     0.00033992   0.00402562      11.84290780         8/29/2017     0.00052240   0.00645345   12.35336013
         7/12/2017     0.00020407   0.00212128      10.39493868         8/30/2017     0.00051690   0.00623494   12.06219615
         7/13/2017     0.00033128   0.00372442      11.24254995         8/31/2017     0.00053225   0.00653561   12.27910923
         7/14/2017     0.00034830   0.00389596      11.18571572          9/1/2017     0.00043138   0.00544256   12.61672770
         7/15/2017     0.00042916   0.00502689       11.71321418         9/2/2017     0.00050505   0.00662645   13.12043670
         7/16/2017     0.00049003   0.00600955      12.26372649          9/3/2017     0.00042750   0.00563831   13.18913319
         7/17/2017     0.00067353   0.00775980      11.52109399          9/4/2017     0.00047367   0.00679812   14.35210218
         7/18/2017     0.00078525   0.00776868       9.89325483          9/5/2017     0.00046765   0.00653919   13.98297070
         7/19/2017     0.00082378   0.00937807      11.38422634          9/6/2017     0.00045722   0.00628671   13.74983550
         7/20/2017     0.00068157   0.00845023      12.39813430          9/7/2017     0.00041438   0.00578605   13.96314847
         7/21/2017     0.00061542   0.00752084      12.22061383          9/8/2017     0.00046498   0.00663170   14.26222597
         7/22/2017     0.00062325   0.00763204      12.24559874          9/9/2017     0.00043953   0.00630944   14.35482337
         7/23/2017     0.00061855   0.00747466      12.08408940         9/10/2017     0.00045637   0.00651636   14.27858009
         7/24/2017     0.00053832   0.00659962      12.25962351         9/11/2017     0.00046844   0.00661834   14.12850983
         7/25/2017     0.00056833   0.00708384      12.46422524         9/12/2017     0.00045403   0.00643485   14.17281960
         7/26/2017     0.00058119   0.00720814      12.40230449         9/13/2017     0.00036762   0.00515066   14.01100646
         7/27/2017     0.00052841   0.00690975      13.07644871         9/14/2017     0.00052676   0.00776916   14.74895984
         7/28/2017     0.00048889   0.00711112      14.54541218         9/15/2017     0.00044693   0.00649086   14.52335702
         7/29/2017     0.00051859   0.00687060      13.24870013         9/16/2017     0.00046104   0.00677957   14.70485153
         7/30/2017     0.00051912   0.00722952      13.92655824         9/17/2017     0.00050440   0.00717855   14.23189672
         7/31/2017     0.00051225   0.00722470      14.10379163         9/18/2017     0.00044864   0.00621397   13.85076661
          8/1/2017     0.00050308   0.00603034      11.98685893         9/19/2017     0.00046413   0.00644165   13.87896040
          8/2/2017     0.00053197   0.00655604      12.32402819         9/20/2017     0.00041885   0.00576584   13.76594770
          8/3/2017     0.00050764   0.00631845      12.44665838         9/21/2017     0.00044004   0.00617913   14.04223064
          8/4/2017     0.00056746   0.00736675      12.98197875         9/22/2017     0.00043234   0.00593886   13.73652151
          8/5/2017     0.00055802   0.00707653      12.68141593         9/23/2017     0.00041064   0.00544187   13.25226264
          8/6/2017     0.00045010   0.00553045      12.28711244         9/24/2017     0.00045335   0.00591051   13.03752478
          8/7/2017     0.00036804   0.00461996      12.55271565         9/25/2017     0.00040942   0.00549858   13.43026716
          8/8/2017     0.00035752   0.00412003      11.52387371         9/26/2017     0.00042794   0.00579495   13.54143473
          8/9/2017     0.00035474   0.00400534      11.29098402         9/27/2017     0.00038537   0.00528208   13.70662708
         8/10/2017     0.00037891   0.00432999      11.42748995         9/28/2017     0.00042249   0.00589604   13.95530670
         8/11/2017     0.00035665   0.00421550      11.81965939         9/29/2017     0.00039274   0.00560950   14.28301369
         8/12/2017     0.00032378   0.00404958      12.50711526         9/30/2017     0.00038514   0.00554302   14.39232402
         8/13/2017     0.00033710   0.00460679      13.66590619         10/1/2017     0.00042748   0.00622643   14.56552226
         8/14/2017     0.00029144   0.00420027      14.41229590         10/2/2017     0.00041957   0.00621891   14.82224015
         8/15/2017     0.00031311   0.00451798      14.42940446         10/3/2017     0.00044470   0.00656500   14.76263421
         8/16/2017     0.00029402   0.00425712      14.47920733         10/4/2017     0.00050835   0.00734641   14.45144536
         8/17/2017     0.00029134   0.00418629      14.36903735         10/5/2017     0.00049210   0.00719935   14.62992632
         8/18/2017     0.00030926   0.00435299      14.07564532         10/6/2017     0.00049876   0.00706439   14.16380959


                                                  QUESTIONS?
                PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                  OR VISIT www.TezosFoundationSettlement.com
AA40716 v.10                                                       16
                     Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 28 of 46
                                                            TABLE 1:
                                                 Currency Conversion Closing Prices

          DATE         BTC/XTZ      ETH/XTZ          ETH/BTC              DATE        BTC/XTZ      ETH/XTZ       ETH/BTC
         10/7/2017     0.00053762   0.00764978      14.22888275        11/27/2017     0.00022101   0.00451745   20.43956616
         10/8/2017     0.00050971   0.00761479      14.93950293        11/28/2017     0.00021175   0.00450412   21.27045887
         10/9/2017     0.00048617   0.00780120      16.04633646        11/29/2017     0.00020832   0.00481849   23.13016935
        10/10/2017     0.00048515   0.00773669      15.94687698        11/30/2017     0.00021400   0.00489812   22.88832726
        10/11/2017     0.00046825   0.00744744      15.90483095         12/1/2017     0.00022049   0.00518712   23.52552836
        10/12/2017     0.00045347   0.00812126      17.90921944         12/2/2017     0.00022484   0.00537275   23.89599741
        10/13/2017     0.00043207   0.00720274      16.67023852         12/3/2017     0.00024021   0.00583879   24.30653644
        10/14/2017     0.00044926   0.00771428      17.17100963         12/4/2017     0.00022904   0.00567843   24.79200340
        10/15/2017     0.00044028   0.00742721      16.86925134         12/5/2017     0.00023496   0.00604386   25.72245726
        10/16/2017     0.00045236   0.00776891      17.17436559         12/6/2017     0.00023161   0.00772300   33.34538837
        10/17/2017     0.00044599   0.00788445      17.67853539         12/7/2017     0.00021118   0.00870146   41.20462236
        10/18/2017     0.00040782   0.00725375      17.78661873         12/8/2017     0.00023055   0.00837664   36.33401311
        10/19/2017     0.00035561   0.00658898      18.52874160         12/9/2017     0.00022466   0.00720169   32.05533263
        10/20/2017     0.00031440   0.00621690      19.77385612        12/10/2017     0.00022322   0.00781038   34.98913339
        10/21/2017     0.00030174   0.00606283      20.09260801        12/11/2017     0.00022850   0.00751252   32.87805257
        10/22/2017     0.00027961   0.00568624      20.33650364        12/12/2017     0.00024691   0.00660086   26.73410804
        10/23/2017     0.00029003   0.00599408      20.66673637        12/13/2017     0.00024805   0.00579137   23.34789476
        10/24/2017     0.00033293   0.00616767      18.52525727        12/14/2017     0.00026805   0.00638096   23.80500704
        10/25/2017     0.00030952   0.00597476      19.30316864        12/15/2017     0.00028238   0.00730514   25.87026079
        10/26/2017     0.00030314   0.00603649      19.91309480        12/16/2017     0.00030671   0.00858936   28.00505595
        10/27/2017     0.00030791   0.00598480      19.43682335        12/17/2017     0.00055170   0.01466728   26.58555218
        10/28/2017     0.00031288   0.00607492      19.41643604        12/18/2017     0.00043685   0.01050777   24.05360851
        10/29/2017     0.00028437   0.00573601      20.17060540        12/19/2017     0.00042528   0.00914347   21.50008466
        10/30/2017     0.00028546   0.00568643      19.92048741        12/20/2017     0.00029174   0.00592121   20.29642652
        10/31/2017     0.00027055   0.00572120      21.14685498        12/21/2017     0.00031830   0.00612623   19.24694907
         11/1/2017     0.00025416   0.00589667      23.20034969        12/22/2017     0.00027834   0.00570489   20.49580654
         11/2/2017     0.00022745   0.00560136      24.62686567        12/23/2017     0.00030138   0.00615799   20.43286673
         11/3/2017     0.00024141   0.00569167      23.57711557        12/24/2017     0.00028867   0.00579126   20.06165814
         11/4/2017     0.00023984   0.00589077      24.56135388        12/25/2017     0.00027804   0.00509251   18.31555306
         11/5/2017     0.00022950   0.00573820      25.00307163        12/26/2017     0.00026460   0.00550501   20.80507598
         11/6/2017     0.00022071   0.00518585      23.49613570        12/27/2017     0.00024434   0.00507315   20.76254523
         11/7/2017     0.00024075   0.00583724      24.24618204        12/28/2017     0.00025947   0.00514233   19.81832243
         11/8/2017     0.00021717   0.00524153      24.13592390        12/29/2017     0.00025655   0.00498945   19.44850648
         11/9/2017     0.00023938   0.00532909      22.26246572        12/30/2017     0.00029956   0.00540947   18.05788696
        11/10/2017     0.00023572   0.00521303      22.11575606        12/31/2017     0.00028821   0.00539162   18.70733287
        11/11/2017     0.00024852   0.00502097      20.20338121          1/1/2018     0.00033169   0.00586302   17.67601988
        11/12/2017     0.00024874   0.00480660      19.32405573          1/2/2018     0.00036977   0.00626385   16.93964543
        11/13/2017     0.00022258   0.00460975      20.71069083          1/3/2018     0.00046642   0.00736455   15.78963769
        11/14/2017     0.00023509   0.00462044      19.65391109          1/4/2018     0.00039425   0.00626962   15.90262203
        11/15/2017     0.00022008   0.00482961      21.94486441          1/5/2018     0.00031441   0.00549252   17.46933007
        11/16/2017     0.00021088   0.00501632      23.78728998          1/6/2018     0.00031095   0.00523193   16.82570463
        11/17/2017     0.00021404   0.00496405      23.19260507          1/7/2018     0.00033015   0.00471743   14.28896000
        11/18/2017     0.00021694   0.00486177      22.41060384          1/8/2018     0.00031246   0.00412701   13.20827493
        11/19/2017     0.00021402   0.00485341      22.67696605          1/9/2018     0.00034052   0.00382384   11.22947666
        11/20/2017     0.00021340   0.00477190      22.36151937         1/10/2018     0.00033059   0.00394165   11.92312593
        11/21/2017     0.00021310   0.00477248      22.39528302         1/11/2018     0.00039311   0.00456305   11.60745673
        11/22/2017     0.00028109   0.00609484      21.68277946         1/12/2018     0.00041128   0.00451618   10.98067861
        11/23/2017     0.00025128   0.00492479      19.59862984         1/13/2018     0.00042270   0.00434683   10.28358230
        11/24/2017     0.00023989   0.00416921      17.37948243         1/14/2018     0.00040299   0.00406067   10.07631130
        11/25/2017     0.00023092   0.00435361      18.85330703         1/15/2018     0.00037844   0.00404824   10.69710199
        11/26/2017     0.00023257   0.00460399      19.79621497         1/16/2018     0.00042122   0.00459338   10.90501001

                                                  QUESTIONS?
                PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                  OR VISIT www.TezosFoundationSettlement.com
AA40717 v.10                                                      17
                     Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 29 of 46

                                                            TABLE 1:
                                                 Currency Conversion Closing Prices

           DATE        BTC/XTZ      ETH/XTZ          ETH/BTC             DATE         BTC/XTZ      ETH/XTZ       ETH/BTC
         1/17/2018     0.00040488   0.00446635      11.03140251         3/7/2018      0.00034117   0.00451629   13.23747725
         1/18/2018     0.00044706   0.00495040      11.07316555         3/8/2018      0.00032358   0.00431450   13.33382061
         1/19/2018     0.00040836   0.00456164      11.17062843         3/9/2018      0.00032985   0.00422543   12.81011634
         1/20/2018     0.00038685   0.00431979      11.16668831        3/10/2018      0.00033950   0.00438207   12.90745243
         1/21/2018     0.00039482   0.00436365      11.05213514        3/11/2018      0.00037584   0.00497691   13.24222357
         1/22/2018     0.00043270   0.00471463      10.89587943        3/12/2018      0.00035958   0.00472972   13.15336582
         1/23/2018     0.00043613   0.00480618      11.02014743        3/13/2018      0.00036760   0.00489267   13.30985915
         1/24/2018     0.00037326   0.00400461      10.72876329        3/14/2018      0.00037365   0.00503020   13.46238747
         1/25/2018     0.00035881   0.00382565      10.66200771        3/15/2018      0.00038189   0.00518567   13.57902830
         1/26/2018     0.00036790   0.00389511      10.58729873        3/16/2018      0.00035259   0.00488640   13.85867668
         1/27/2018     0.00035750   0.00369444      10.33421554        3/17/2018      0.00035241   0.00504722   14.32193639
         1/28/2018     0.00038859   0.00367573       9.45923387        3/18/2018      0.00034291   0.00523541   15.26748849
         1/29/2018     0.00029036   0.00277411       9.55411211        3/19/2018      0.00034992   0.00542453   15.50239793
         1/30/2018     0.00034038   0.00321156       9.43517594        3/20/2018      0.00036910   0.00590484   15.99775652
         1/31/2018     0.00033167   0.00303136       9.13977341        3/21/2018      0.00037517   0.00596372   15.89603546
          2/1/2018     0.00033368   0.00295142       8.84512775        3/22/2018      0.00038266   0.00618862   16.17281823
         2/2/2018      0.00032274   0.00311210       9.64287274        3/23/2018      0.00039078   0.00643045   16.45532041
          2/3/2018     0.00034660   0.00329869       9.51734404        3/24/2018      0.00045108   0.00742725   16.46554213
          2/4/2018     0.00037091   0.00367806       9.91638712        3/25/2018      0.00046258   0.00749585   16.20435255
          2/5/2018     0.00034650   0.00345297       9.96528405        3/26/2018      0.00042878   0.00718441   16.75558730
          2/6/2018     0.00031726   0.00310167       9.77657858        3/27/2018      0.00038555   0.00670932   17.40211499
          2/7/2018     0.00031753   0.00319653      10.06683662        3/28/2018      0.00039475   0.00703594   17.82396702
          2/8/2018     0.00035690   0.00360719      10.10698084        3/29/2018      0.00038935   0.00722854   18.56543255
          2/9/2018     0.00036283   0.00358654       9.88502704        3/30/2018      0.00040781   0.00712041   17.46026759
         2/10/2018     0.00037927   0.00380051      10.02068781        3/31/2018      0.00041012   0.00721384   17.58949200
         2/11/2018     0.00036655   0.00365797       9.97958658         4/1/2018      0.00038573   0.00695451   18.02963568
         2/12/2018     0.00036072   0.00370665      10.27566161        4/2/2018       0.00038821   0.00711661   18.33186688
         2/13/2018     0.00030355   0.00308781      10.17238483         4/3/2018      0.00038626   0.00690830   17.88507760
         2/14/2018     0.00026331   0.00270692      10.28046905         4/4/2018      0.00038810   0.00699007   18.01082672
         2/15/2018     0.00025279   0.00274285      10.85017823         4/5/2018      0.00039639   0.00704538   17.77384338
         2/16/2018     0.00026285   0.00284894      10.83858464         4/6/2018      0.00037671   0.00675147   17.92195306
         2/17/2018     0.00024746   0.00282309      11.40805453         4/7/2018      0.00037621   0.00674781   17.93644079
         2/18/2018     0.00027199   0.00310633      11.42068577         4/8/2018      0.00037588   0.00659160   17.53644104
         2/19/2018     0.00030645   0.00364461      11.89297142         4/9/2018      0.00038548   0.00654907   16.98926053
         2/20/2018     0.00034287   0.00436691      12.73629896        4/10/2018      0.00039211   0.00646968   16.49951719
         2/21/2018     0.00033020   0.00415309      12.57738508        4/11/2018      0.00038316   0.00620151   16.18506991
         2/22/2018     0.00040580   0.00499483      12.30869544        4/12/2018      0.00038660   0.00618737   16.00448330
         2/23/2018     0.00045529   0.00542705      11.91994816        4/13/2018      0.00035968   0.00576381   16.02492237
         2/24/2018     0.00049322   0.00575834      11.67499881        4/14/2018      0.00035937   0.00572306   15.92534099
         2/25/2018     0.00048320   0.00552787      11.44012263        4/15/2018      0.00035898   0.00562347   15.66505548
         2/26/2018     0.00038199   0.00455528      11.92506787        4/16/2018      0.00037972   0.00598650   15.76576347
         2/27/2018     0.00040650   0.00496430      12.21218987        4/17/2018      0.00036066   0.00566724   15.71335680
         2/28/2018     0.00040681   0.00494621      12.15844247        4/18/2018      0.00036994   0.00575468   15.55559367
          3/1/2018     0.00040088   0.00503325      12.55560651        4/19/2018      0.00036772   0.00537076   14.60548698
          3/2/2018     0.00038876   0.00503005      12.93855401        4/20/2018      0.00033801   0.00485610   14.36664393
          3/3/2018     0.00038382   0.00514454      13.40344369        4/21/2018      0.00033500   0.00492237   14.69372316
          3/4/2018     0.00037003   0.00491531      13.28356487        4/22/2018      0.00036013   0.00509761   14.15505098
          3/5/2018     0.00034994   0.00474417      13.55695343        4/23/2018      0.00038854   0.00540036   13.89912069
          3/6/2018     0.00033581   0.00443112      13.19529959        4/24/2018      0.00043413   0.00594498   13.69393922


                                                  QUESTIONS?
                PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                  OR VISIT www.TezosFoundationSettlement.com
AA40718 v.10                                                      18
                     Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 30 of 46
                                                            TABLE 1:
                                                 Currency Conversion Closing Prices

            Date       BTC/XTZ      ETH/XTZ          ETH/BTC              Date        BTC/XTZ      ETH/XTZ       ETH/BTC
         4/25/2018     0.00040924   0.00588216      14.37350102        6/15/2018      0.00060094   0.00790224   13.14985743
         4/26/2018     0.00037709   0.00528055      14.00327394        6/16/2018      0.00061983   0.00812585   13.10975903
         4/27/2018     0.00039501   0.00548661      13.88969600        6/17/2018      0.00061853   0.00803277   12.98685183
         4/28/2018     0.00039900   0.00545577      13.67376550        6/18/2018      0.00062066   0.00805566   12.97928270
         4/29/2018     0.00040025   0.00547265      13.67303449        6/19/2018      0.00062334   0.00784445   12.58446725
         4/30/2018     0.00039175   0.00540363      13.79351266        6/20/2018      0.00063011   0.00796241   12.63645179
          5/1/2018     0.00040026   0.00541857      13.53752171        6/21/2018      0.00062112   0.00792612   12.76094583
          5/2/2018     0.00040169   0.00539911      13.44090810        6/22/2018      0.00064270   0.00839380   13.06017346
          5/3/2018     0.00040333   0.00504143      12.49949970        6/23/2018      0.00061339   0.00796594   12.98676557
          5/4/2018     0.00040100   0.00495150      12.34790357        6/24/2018      0.00052971   0.00714489   13.48838683
          5/5/2018     0.00041184   0.00497476      12.07928981        6/25/2018      0.00059528   0.00808151   13.57602485
          5/6/2018     0.00041741   0.00508639      12.18563441        6/26/2018      0.00057437   0.00808744   14.08062019
          5/7/2018     0.00040969   0.00509473      12.43566576        6/27/2018      0.00058144   0.00809296   13.91882177
          5/8/2018     0.00041149   0.00504742      12.26631777        6/28/2018      0.00060304   0.00842883   13.97727057
          5/9/2018     0.00041822   0.00518424      12.39588983        6/29/2018      0.00065291   0.00931171   14.26182886
         5/10/2018     0.00042459   0.00527995      12.43529315        6/30/2018      0.00069176   0.00973241   14.06915945
         5/11/2018     0.00043950   0.00545917      12.42144528         7/1/2018      0.00061856   0.00870197   14.06816179
         5/12/2018     0.00045738   0.00567014      12.39689527         7/2/2018      0.00043996   0.00612180   13.91433680
         5/13/2018     0.00049175   0.00584867      11.89357873         7/3/2018      0.00030630   0.00430849   14.06632917
         5/14/2018     0.00058852   0.00702211      11.93181849         7/4/2018      0.00028344   0.00400154   14.11784216
         5/15/2018     0.00059104   0.00709580      12.00555814         7/5/2018      0.00021388   0.00299319   13.99451951
         5/16/2018     0.00053890   0.00637862      11.83626335         7/6/2018      0.00026823   0.00377629   14.07881690
         5/17/2018     0.00055718   0.00670472      12.03330063         7/7/2018      0.00026980   0.00376276   13.94648741
         5/18/2018     0.00056963   0.00676873      11.88267062         7/8/2018      0.00034249   0.00474321   13.84911678
         5/19/2018     0.00057717   0.00683388      11.84038017         7/9/2018      0.00033522   0.00474113   14.14313586
         5/20/2018     0.00057087   0.00679369      11.90048506        7/10/2018      0.00035229   0.00513328   14.57103725
         5/21/2018     0.00053569   0.00645004      12.04054518        7/11/2018      0.00032840   0.00470304   14.32121741
         5/22/2018     0.00051979   0.00645321      12.41513570        7/12/2018      0.00030503   0.00441789   14.48324691
         5/23/2018     0.00051867   0.00671704      12.95056461        7/13/2018      0.00031580   0.00453886   14.37239361
         5/24/2018     0.00053906   0.00679673      12.60858149        7/14/2018      0.00031389   0.00451742   14.39179986
         5/25/2018     0.00058689   0.00748215      12.74886234        7/15/2018      0.00034279   0.00484606   14.13724575
         5/26/2018     0.00059816   0.00749217      12.52533715        7/16/2018      0.00033819   0.00474348   14.02602671
         5/27/2018     0.00058902   0.00757854      12.86643268        7/17/2018      0.00033329   0.00487026   14.61285429
         5/28/2018     0.00059137   0.00817766      13.82836602        7/18/2018      0.00031611   0.00484901   15.33949345
         5/29/2018     0.00065038   0.00859584      13.21669998        7/19/2018      0.00030401   0.00483370   15.89979132
         5/30/2018     0.00069263   0.00916743      13.23561894        7/20/2018      0.00027875   0.00454848   16.31712891
         5/31/2018     0.00064450   0.00836146      12.97354800        7/21/2018      0.00029652   0.00475737   16.04378946
          6/1/2018     0.00068422   0.00889594      13.00160334        7/22/2018      0.00029116   0.00469913   16.13908106
          6/2/2018     0.00075620   0.00976665      12.91537825        7/23/2018      0.00029049   0.00496839   17.10349340
          6/3/2018     0.00065542   0.00818333      12.48564682        7/24/2018      0.00025521   0.00448505   17.57362789
          6/4/2018     0.00065607   0.00831394      12.67238355        7/25/2018      0.00025912   0.00448687   17.31547758
          6/5/2018     0.00069690   0.00873133      12.52873790        7/26/2018      0.00025655   0.00439617   17.13554866
          6/6/2018     0.00064150   0.00808736      12.60702991        7/27/2018      0.00025597   0.00444993   17.38456789
          6/7/2018     0.00065119   0.00826187      12.68732134        7/28/2018      0.00025146   0.00441208   17.54583423
          6/8/2018     0.00065706   0.00833500      12.68536634        7/29/2018      0.00025187   0.00443568   17.61085992
          6/9/2018     0.00065587   0.00826695      12.60455854        7/30/2018      0.00025426   0.00455063   17.89726087
         6/10/2018     0.00070734   0.00911716      12.88941650        7/31/2018      0.00024292   0.00435614   17.93265264
         6/11/2018     0.00064428   0.00834458      12.95177018         8/1/2018      0.00023869   0.00432561   18.12218657
         6/12/2018     0.00065782   0.00871508      13.24845021         8/2/2018      0.00021937   0.00402307   18.33927100
         6/13/2018     0.00061261   0.00814677      13.29849840         8/3/2018      0.00024615   0.00437527   17.77456606
         6/14/2018     0.00062169   0.00798476      12.84363336         8/4/2018      0.00026590   0.00459177   17.26912216

                                                  QUESTIONS?
                PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                  OR VISIT www.TezosFoundationSettlement.com
AA40719 v.10                                                      19
                     Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 31 of 46

                                                            TABLE 1:
                                                 Currency Conversion Closing Prices

            Date       BTC/XTZ      ETH/XTZ          ETH/BTC              Date        BTC/XTZ      ETH/XTZ       ETH/BTC
          8/5/2018     0.00026173   0.00450648      17.21835721         9/23/2018     0.00024737   0.00679409   27.46543609
          8/6/2018     0.00025605   0.00437712      17.09487041         9/24/2018     0.00023653   0.00682027   28.83491453
          8/7/2018     0.00025025   0.00444480      17.76108569         9/25/2018     0.00022803   0.00672738   29.50194499
          8/8/2018     0.00024422   0.00431844      17.68262247         9/26/2018     0.00022325   0.00671763   30.09034051
          8/9/2018     0.00025425   0.00456796      17.96610958         9/27/2018     0.00021567   0.00630225   29.22119130
         8/10/2018     0.00024738   0.00457837      18.50712191         9/28/2018     0.00021372   0.00638489   29.87468525
         8/11/2018     0.00024143   0.00471888      19.54527956         9/29/2018     0.00021812   0.00621654   28.50094975
         8/12/2018     0.00022933   0.00453735      19.78499233         9/30/2018     0.00021432   0.00609835   28.45419798
         8/13/2018     0.00020643   0.00453752      21.98104712         10/1/2018     0.00020487   0.00584998   28.55492482
         8/14/2018     0.00020162   0.00448141      22.22675940         10/2/2018     0.00020286   0.00585439   28.85861431
         8/15/2018     0.00020449   0.00456864      22.34211645         10/3/2018     0.00020146   0.00594131   29.49154157
         8/16/2018     0.00020522   0.00451311      21.99177226         10/4/2018     0.00019767   0.00585006   29.59540095
         8/17/2018     0.00020971   0.00437082      20.84258702         10/5/2018     0.00019932   0.00579965   29.09701230
         8/18/2018     0.00020704   0.00449613      21.71583111         10/6/2018     0.00020339   0.00595238   29.26576937
         8/19/2018     0.00021057   0.00455407      21.62706512         10/7/2018     0.00019991   0.00583761   29.20108792
         8/20/2018     0.00022668   0.00521289      22.99697434         10/8/2018     0.00020444   0.00593213   29.01609526
         8/21/2018     0.00020959   0.00482372      23.01468398         10/9/2018     0.00021076   0.00614089   29.13694184
         8/22/2018     0.00020230   0.00475418      23.50081079        10/10/2018     0.00020803   0.00606812   29.16919874
         8/23/2018     0.00020199   0.00476362      23.58311079        10/11/2018     0.00019820   0.00654354   33.01445910
         8/24/2018     0.00019792   0.00470014      23.74795915        10/12/2018     0.00019922   0.00635389   31.89437300
         8/25/2018     0.00020109   0.00486322      24.18448060        10/13/2018     0.00019726   0.00620496   31.45511409
         8/26/2018     0.00019829   0.00483285      24.37231105        10/14/2018     0.00019393   0.00623339   32.14249949
         8/27/2018     0.00019609   0.00472689      24.10588235        10/15/2018     0.00020768   0.00653314   31.45703386
         8/28/2018     0.00019447   0.00465430      23.93349073        10/16/2018     0.00022286   0.00699600   31.39210927
         8/29/2018     0.00019440   0.00473540      24.35850817        10/17/2018     0.00021392   0.00676067   31.60338999
         8/30/2018     0.00019489   0.00478688      24.56171905        10/18/2018     0.00020381   0.00649127   31.85006147
         8/31/2018     0.00019325   0.00480565      24.86777385        10/19/2018     0.00020262   0.00643008   31.73518873
          9/1/2018     0.00019602   0.00477416      24.35582718        10/20/2018     0.00020187   0.00637687   31.58832692
          9/2/2018     0.00019113   0.00472195      24.70605021        10/21/2018     0.00020672   0.00653212   31.59963927
          9/3/2018     0.00019559   0.00490908      25.09873470        10/22/2018     0.00021735   0.00691041   31.79356989
          9/4/2018     0.00019561   0.00503990      25.76529469        10/23/2018     0.00021310   0.00675345   31.69100519
          9/5/2018     0.00019138   0.00559549      29.23785133        10/24/2018     0.00020629   0.00657346   31.86578366
          9/6/2018     0.00018992   0.00538615      28.36056815        10/25/2018     0.00020845   0.00665943   31.94697119
          9/7/2018     0.00019019   0.00566298      29.77472376        10/26/2018     0.00021159   0.00673782   31.84355481
          9/8/2018     0.00018471   0.00580955      31.45228593        10/27/2018     0.00020832   0.00661084   31.73390138
          9/9/2018     0.00019045   0.00609385      31.99705464        10/28/2018     0.00020813   0.00657350   31.58392170
         9/10/2018     0.00022276   0.00715446      32.11741425        10/29/2018     0.00020213   0.00648923   32.10458809
         9/11/2018     0.00020724   0.00707840      34.15572486        10/30/2018     0.00020208   0.00647904   32.06251265
         9/12/2018     0.00019837   0.00687285      34.64681176        10/31/2018     0.00020261   0.00648495   32.00734624
         9/13/2018     0.00020714   0.00638751      30.83657440         11/1/2018     0.00020540   0.00658722   32.07009604
         9/14/2018     0.00024107   0.00741440      30.75659976         11/2/2018     0.00020506   0.00652911   31.84031100
         9/15/2018     0.00024911   0.00730712      29.33249653         11/3/2018     0.00020593   0.00654378   31.77611269
         9/16/2018     0.00025471   0.00752527      29.54431298         11/4/2018     0.00020859   0.00640995   30.72981830
         9/17/2018     0.00023881   0.00758035      31.74247018         11/5/2018     0.00020406   0.00626524   30.70285523
         9/18/2018     0.00023700   0.00719116      30.34241356         11/6/2018     0.00020585   0.00608835   29.57660792
         9/19/2018     0.00024224   0.00738201      30.47359147         11/7/2018     0.00020367   0.00612395   30.06786997
         9/20/2018     0.00026228   0.00761387      29.02920878         11/8/2018     0.00020453   0.00621967   30.40908448
         9/21/2018     0.00024648   0.00673210      27.31344797         11/9/2018     0.00020202   0.00614081   30.39758176
         9/22/2018     0.00024695   0.00690286      27.95234531        11/10/2018     0.00020439   0.00616384   30.15677787


                                                  QUESTIONS?
                PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                  OR VISIT www.TezosFoundationSettlement.com
AA40720 v.10                                                      20
                     Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 32 of 46

                                                            TABLE 1:
                                                 Currency Conversion Closing Prices

           Date        BTC/XTZ      ETH/XTZ          ETH/BTC              Date        BTC/XTZ      ETH/XTZ       ETH/BTC
        11/11/2018     0.00020589   0.00624586      30.33628277        12/31/2018     0.00012361   0.00346875   28.06253280
        11/12/2018     0.00019933   0.00603555      30.27882331         1/1/2019      0.00012351   0.00337096   27.29385031
        11/13/2018     0.00019498   0.00599526      30.74742542         1/2/2019      0.00012307   0.00313008   25.43315060
        11/14/2018     0.00019518   0.00617420      31.63368247         1/3/2019      0.00012566   0.00323276   25.72576103
        11/15/2018     0.00019653   0.00613904      31.23737625         1/4/2019      0.00012521   0.00312478   24.95613922
        11/16/2018     0.00019908   0.00633634      31.82754881         1/5/2019      0.00012567   0.00310475   24.70566692
        11/17/2018     0.00019624   0.00626437      31.92143678         1/6/2019      0.00011881   0.00307029   25.84234548
        11/18/2018     0.00019205   0.00609928      31.75885243         1/7/2019      0.00011960   0.00317357   26.53427818
        11/19/2018     0.00017020   0.00555788      32.65511463         1/8/2019      0.00012032   0.00322555   26.80799415
        11/20/2018     0.00016075   0.00549043      34.15582323         1/9/2019      0.00012290   0.00328874   26.75928382
        11/21/2018     0.00015678   0.00527805      33.66620337        1/10/2019      0.00012309   0.00352043   28.60079297
        11/22/2018     0.00015705   0.00541129      34.45615973         1/11/2019     0.00012197   0.00352617   28.90921207
        11/23/2018     0.00014606   0.00514942      35.25636659        1/12/2019      0.00011602   0.00337206   29.06485671
        11/24/2018     0.00014608   0.00499511      34.19473081        1/13/2019      0.00011109   0.00337643   30.39307100
        11/25/2018     0.00014702   0.00506282      34.43512237        1/14/2019      0.00011242   0.00322804   28.71348880
        11/26/2018     0.00015044   0.00524782      34.88213033         1/15/2019     0.00011236   0.00334310   29.75235598
        11/27/2018     0.00014797   0.00513918      34.73066085         1/16/2019     0.00011625   0.00343913   29.58324565
        11/28/2018     0.00013671   0.00475368      34.77147991         1/17/2019     0.00011608   0.00345099   29.72813965
        11/29/2018     0.00013159   0.00479049      36.40335205         1/18/2019     0.00011952   0.00361291   30.22758450
        11/30/2018     0.00012321   0.00437358      35.49765839        1/19/2019      0.00011730   0.00351235   29.94354321
         12/1/2018     0.00012169   0.00432288      35.52486514        1/20/2019      0.00011898   0.00358632   30.14154181
         12/2/2018     0.00011891   0.00422956      35.56903514        1/21/2019      0.00011843   0.00361466   30.52261864
         12/3/2018     0.00011298   0.00403899      35.74892133        1/22/2019      0.00011760   0.00356960   30.35435789
         12/4/2018     0.00011014   0.00395439      35.90318483        1/23/2019      0.00011864   0.00362152   30.52464879
         12/5/2018     0.00010404   0.00381108      36.63144028        1/24/2019      0.00011652   0.00357520   30.68225971
         12/6/2018     0.00009918   0.00380594      38.37292938        1/25/2019      0.00011525   0.00356470   30.93117374
         12/7/2018     0.00010856   0.00397973      36.65923464        1/26/2019      0.00011393   0.00352340   30.92505794
         12/8/2018     0.00011344   0.00427860      37.71820747        1/27/2019      0.00011221   0.00354619   31.60188696
         12/9/2018     0.00011200   0.00425477      37.98854320        1/28/2019      0.00010914   0.00355341   32.55887044
        12/10/2018     0.00010302   0.00393538      38.20111244        1/29/2019      0.00010816   0.00353181   32.65265152
        12/11/2018     0.00010640   0.00409636      38.50016863        1/30/2019      0.00010891   0.00348622   32.00973281
        12/12/2018     0.00011936   0.00459441      38.49155536         1/31/2019     0.00010960   0.00353978   32.29768354
        12/13/2018     0.00011230   0.00430002      38.29073261         2/1/2019      0.00010968   0.00355493   32.41287984
        12/14/2018     0.00011510   0.00442676      38.45902028         2/2/2019      0.00010822   0.00345056   31.88499502
        12/15/2018     0.00012020   0.00460738      38.33207011         2/3/2019      0.00010787   0.00347614   32.22634664
        12/16/2018     0.00012116   0.00462261      38.15200563         2/4/2019      0.00010696   0.00343142   32.08263773
        12/17/2018     0.00011822   0.00440639      37.27383580         2/5/2019      0.00010717   0.00345765   32.26321668
        12/18/2018     0.00011842   0.00432890      36.55484126         2/6/2019      0.00010765   0.00350253   32.53688525
        12/19/2018     0.00011949   0.00441972      36.98973042         2/7/2019      0.00010704   0.00348062   32.51836618
        12/20/2018     0.00011414   0.00406027      35.57425572         2/8/2019      0.00010572   0.00325018   30.74352310
        12/21/2018     0.00011831   0.00421008      35.58484018         2/9/2019      0.00010344   0.00317969   30.73934522
        12/22/2018     0.00011685   0.00401727      34.37975334        2/10/2019      0.00010271   0.00303673   29.56646102
        12/23/2018     0.00012830   0.00392353      30.58025541         2/11/2019     0.00010507   0.00316032   30.07774114
        12/24/2018     0.00013083   0.00380491      29.08300057        2/12/2019      0.00010673   0.00318150   29.80770172
        12/25/2018     0.00012970   0.00381126      29.38609057        2/13/2019      0.00010869   0.00322117   29.63745410
        12/26/2018     0.00013555   0.00396487      29.25077728        2/14/2019      0.00011369   0.00338754   29.79553505
        12/27/2018     0.00012880   0.00403803      31.35040316        2/15/2019      0.00012387   0.00367333   29.65446355
        12/28/2018     0.00012962   0.00369493      28.50650200        2/16/2019      0.00011931   0.00351343   29.44823949
        12/29/2018     0.00013358   0.00369743      27.68011882         2/17/2019     0.00011893   0.00327053   27.49880240
        12/30/2018     0.00012888   0.00356231      27.64157014        2/18/2019      0.00011588   0.00310571   26.80157426

                                                  QUESTIONS?
                PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                  OR VISIT www.TezosFoundationSettlement.com
AA40721 v.10                                                      21
                     Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 33 of 46

                                                            TABLE 1:
                                                 Currency Conversion Closing Prices

            Date       BTC/XTZ      ETH/XTZ          ETH/BTC              Date        BTC/XTZ      ETH/XTZ       ETH/BTC
         2/19/2019     0.00011432   0.00310453      27.15576195        4/10/2019      0.00019157   0.00575166   30.02452915
         2/20/2019     0.00011597   0.00310165      26.74570378        4/11/2019      0.00018511   0.00566449   30.60114804
         2/21/2019     0.00011087   0.00300011      27.05892014        4/12/2019      0.00019120   0.00590694   30.89437902
         2/22/2019     0.00011146   0.00299457      26.86652358        4/13/2019      0.00019241   0.00596090   30.98042672
         2/23/2019     0.00010888   0.00284025      26.08646096        4/14/2019      0.00022060   0.00679218   30.78956149
         2/24/2019     0.00011163   0.00313109      28.04880383        4/15/2019      0.00021117   0.00662252   31.36170081
         2/25/2019     0.00011086   0.00307846      27.76927478        4/16/2019      0.00021965   0.00686076   31.23469753
         2/26/2019     0.00010581   0.00295344      27.91194149        4/17/2019      0.00024182   0.00760707   31.45816113
         2/27/2019     0.00010695   0.00302553      28.28950268        4/18/2019      0.00026046   0.00793970   30.48380415
         2/28/2019     0.00010637   0.00299839      28.18859232        4/19/2019      0.00025642   0.00782914   30.53255426
          3/1/2019     0.00010666   0.00301711      28.28774553        4/20/2019      0.00025104   0.00771223   30.72166906
          3/2/2019     0.00010514   0.00302752      28.79383056        4/21/2019      0.00024838   0.00776242   31.25274919
          3/3/2019     0.00010535   0.00306479      29.09020794        4/22/2019      0.00025003   0.00785477   31.41543027
          3/4/2019     0.00010787   0.00317575      29.44008766        4/23/2019      0.00026201   0.00851560   32.50137066
          3/5/2019     0.00010779   0.00304730      28.27151357        4/24/2019      0.00022507   0.00741723   32.95465235
          3/6/2019     0.00010755   0.00302507      28.12839542        4/25/2019      0.00021495   0.00725107   33.73378221
          3/7/2019     0.00010686   0.00302824      28.33789756        4/26/2019      0.00021783   0.00735529   33.76622961
          3/8/2019     0.00010540   0.00304274      28.86945904        4/27/2019      0.00023157   0.00770056   33.25310863
          3/9/2019     0.00010532   0.00302551      28.72588244        4/28/2019      0.00022138   0.00743802   33.59910998
         3/10/2019     0.00011487   0.00331908      28.89441357        4/29/2019      0.00021535   0.00728093   33.81024485
         3/11/2019     0.00011614   0.00338912      29.18052753        4/30/2019      0.00022801   0.00752297   32.99457360
         3/12/2019     0.00011732   0.00341141      29.07735793         5/1/2019      0.00022211   0.00746176   33.59470215
         3/13/2019     0.00011607   0.00340286      29.31652409         5/2/2019      0.00023432   0.00795707   33.95805576
         3/14/2019     0.00011437   0.00335683      29.34986164         5/3/2019      0.00022710   0.00779994   34.34528133
         3/15/2019     0.00011424   0.00328627      28.76686760         5/4/2019      0.00020751   0.00737670   35.54941169
         3/16/2019     0.00012456   0.00354150      28.43209270         5/5/2019      0.00020015   0.00709697   35.45861120
         3/17/2019     0.00012290   0.00353347      28.75164286         5/6/2019      0.00021055   0.00700840   33.28589632
         3/18/2019     0.00012295   0.00355751      28.93384516         5/7/2019      0.00020585   0.00706714   34.33156655
         3/19/2019     0.00014626   0.00423750      28.97231711         5/8/2019      0.00019557   0.00684411   34.99537877
         3/20/2019     0.00015716   0.00456610      29.05309546         5/9/2019      0.00017815   0.00645957   36.25891127
         3/21/2019     0.00020674   0.00609656      29.48865632        5/10/2019      0.00017401   0.00641100   36.84215086
         3/22/2019     0.00018722   0.00549192      29.33350343        5/11/2019      0.00017627   0.00653628   37.08064848
         3/23/2019     0.00018062   0.00527313      29.19437211        5/12/2019      0.00017498   0.00651257   37.21971921
         3/24/2019     0.00016700   0.00490338      29.36104825        5/13/2019      0.00017019   0.00675641   39.69987300
         3/25/2019     0.00017307   0.00507960      29.34955195        5/14/2019      0.00018388   0.00676951   36.81519687
         3/26/2019     0.00016861   0.00496034      29.41886904        5/15/2019      0.00021694   0.00720210   33.19915031
         3/27/2019     0.00017738   0.00514200      28.98836797        5/16/2019      0.00021560   0.00643915   29.86595205
         3/28/2019     0.00019389   0.00565875      29.18598479        5/17/2019      0.00022740   0.00685100   30.12758451
         3/29/2019     0.00021877   0.00629199      28.76049123        5/18/2019      0.00022555   0.00699062   30.99407502
         3/30/2019     0.00023074   0.00666873      28.90182279        5/19/2019      0.00022323   0.00700371   31.37391404
         3/31/2019     0.00025820   0.00749064      29.01137729        5/20/2019      0.00020806   0.00659096   31.67755896
          4/1/2019     0.00023631   0.00692819      29.31805683        5/21/2019      0.00020720   0.00646501   31.20182588
         4/2/2019      0.00020902   0.00622103      29.76262503        5/22/2019      0.00020182   0.00633429   31.38565591
          4/3/2019     0.00019003   0.00585311      30.80032206        5/23/2019      0.00020554   0.00658617   32.04394845
          4/4/2019     0.00017581   0.00547610      31.14710535        5/24/2019      0.00019781   0.00633317   32.01607343
          4/5/2019     0.00020251   0.00616277      30.43127303        5/25/2019      0.00019497   0.00623610   31.98498570
          4/6/2019     0.00018980   0.00578696      30.49002712        5/26/2019      0.00019255   0.00625304   32.47545587
          4/7/2019     0.00018809   0.00560275      29.78800206        5/27/2019      0.00018738   0.00604706   32.27215422
          4/8/2019     0.00017707   0.00519606      29.34522357        5/28/2019      0.00018119   0.00581374   32.08580785
          4/9/2019     0.00018059   0.00533733      29.55516439        5/29/2019      0.00018361   0.00590069   32.13645810

                                                  QUESTIONS?
                PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                  OR VISIT www.TezosFoundationSettlement.com
AA40722 v.10                                                      22
                     Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 34 of 46

                                                            TABLE 1:
                                                 Currency Conversion Closing Prices

            Date       BTC/XTZ      ETH/XTZ          ETH/BTC              Date        BTC/XTZ      ETH/XTZ       ETH/BTC
         5/30/2019     0.00017910   0.00582350      32.51571172        7/19/2019      0.00009327   0.00443750   47.57931595
         5/31/2019     0.00017610   0.00563202      31.98127634        7/20/2019      0.00009659   0.00453911   46.99345321
          6/1/2019     0.00017165   0.00553902      32.26956555        7/21/2019      0.00010190   0.00478660   46.97562381
          6/2/2019     0.00017271   0.00558783      32.35377271        7/22/2019      0.00010828   0.00514801   47.54141386
          6/3/2019     0.00016933   0.00550255      32.49669451        7/23/2019      0.00010807   0.00502985   46.54148451
          6/4/2019     0.00015698   0.00501367      31.93739123        7/24/2019      0.00010294   0.00465331   45.20585119
          6/5/2019     0.00015081   0.00477636      31.67063348        7/25/2019      0.00010392   0.00468992   45.13177306
          6/6/2019     0.00017003   0.00533130      31.35455165        7/26/2019      0.00010537   0.00473524   44.94058189
          6/7/2019     0.00016410   0.00526043      32.05654964        7/27/2019      0.00010762   0.00491780   45.69538595
          6/8/2019     0.00015841   0.00512737      32.36807195        7/28/2019      0.00010573   0.00478242   45.23348643
          6/9/2019     0.00015999   0.00527693      32.98331117        7/29/2019      0.00010610   0.00478061   45.05679936
         6/10/2019     0.00016249   0.00525210      32.32195378        7/30/2019      0.00012699   0.00579517   45.63661410
         6/11/2019     0.00016146   0.00520791      32.25530963        7/31/2019      0.00012592   0.00580837   46.12682369
         6/12/2019     0.00015591   0.00486777      31.22215408         8/1/2019      0.00013462   0.00642762   47.74652220
         6/13/2019     0.00015551   0.00499668      32.13069446         8/2/2019      0.00013596   0.00656355   48.27727544
         6/14/2019     0.00014148   0.00465750      32.91995153         8/3/2019      0.00013214   0.00642726   48.63917479
         6/15/2019     0.00014143   0.00464649      32.85398855         8/4/2019      0.00013126   0.00646697   49.26653793
         6/16/2019     0.00014342   0.00479162      33.40944209         8/5/2019      0.00012367   0.00623346   50.40410725
         6/17/2019     0.00014270   0.00484782      33.97248041         8/6/2019      0.00012807   0.00650385   50.78386868
         6/18/2019     0.00013544   0.00464063      34.26432749         8/7/2019      0.00011305   0.00596316   52.74954724
         6/19/2019     0.00012940   0.00445385      34.41903277         8/8/2019      0.00012953   0.00701548   54.16135602
         6/20/2019     0.00011861   0.00415900      35.06499816         8/9/2019      0.00012054   0.00679367   56.35868687
         6/21/2019     0.00011533   0.00396731      34.39883354        8/10/2019      0.00012242   0.00672375   54.92197552
         6/22/2019     0.00011494   0.00397569      34.59076217        8/11/2019      0.00011975   0.00638623   53.32768754
         6/23/2019     0.00010962   0.00386577      35.26417178        8/12/2019      0.00011948   0.00643665   53.87202423
         6/24/2019     0.00010535   0.00373687      35.47161910        8/13/2019      0.00011564   0.00603708   52.20559628
         6/25/2019     0.00009329   0.00345771      37.06321315        8/14/2019      0.00011540   0.00621617   53.86474465
         6/26/2019     0.00008374   0.00323682      38.65250186        8/15/2019      0.00011831   0.00647215   54.70318302
         6/27/2019     0.00008751   0.00332540      38.00186903        8/16/2019      0.00011760   0.00657895   55.94445643
         6/28/2019     0.00008140   0.00324519      39.86546927        8/17/2019      0.00011630   0.00640853   55.10119016
         6/29/2019     0.00008612   0.00321815      37.36602512        8/18/2019      0.00011599   0.00616998   53.19456013
         6/30/2019     0.00008636   0.00321337      37.21073271        8/19/2019      0.00011085   0.00595795   53.74981535
          7/1/2019     0.00008689   0.00313151      36.04117286        8/20/2019      0.00010777   0.00590121   54.75520171
          7/2/2019     0.00009350   0.00346365      37.04279835        8/21/2019      0.00011047   0.00599283   54.24608058
          7/3/2019     0.00010367   0.00409106      39.46311448        8/22/2019      0.00011253   0.00595829   52.95071343
          7/4/2019     0.00010789   0.00425278      39.41881063        8/23/2019      0.00011241   0.00600894   53.45370037
          7/5/2019     0.00011659   0.00444444      38.11965278        8/24/2019      0.00011319   0.00601181   53.11286528
          7/6/2019     0.00010885   0.00424274      38.97948183        8/25/2019      0.00011244   0.00610148   54.26311282
          7/7/2019     0.00010480   0.00392542      37.45780177        8/26/2019      0.00011185   0.00613984   54.89239401
          7/8/2019     0.00009930   0.00389465      39.22094174        8/27/2019      0.00011094   0.00602602   54.31687287
          7/9/2019     0.00009703   0.00394975      40.70775058        8/28/2019      0.00010764   0.00603830   56.09534763
         7/10/2019     0.00009707   0.00406897      41.91900000        8/29/2019      0.00010496   0.00588823   56.10075507
         7/11/2019     0.00008892   0.00375884      42.27264607        8/30/2019      0.00011044   0.00627851   56.85109282
         7/12/2019     0.00009140   0.00390908      42.76816997        8/31/2019      0.00010799   0.00603003   55.83962428
         7/13/2019     0.00008754   0.00370122      42.27855711         9/1/2019      0.00010555   0.00600128   56.85468741
         7/14/2019     0.00009135   0.00411680      45.06573513         9/2/2019      0.00010245   0.00594337   58.01379310
         7/15/2019     0.00008919   0.00422908      47.41531030         9/3/2019      0.00009790   0.00579387   59.18406685
         7/16/2019     0.00009062   0.00431164      47.58090266         9/4/2019      0.00009722   0.00585261   60.19938633
         7/17/2019     0.00009489   0.00434949      45.83790429         9/5/2019      0.00009550   0.00579727   60.70215819
         7/18/2019     0.00009145   0.00430513      47.07807742         9/6/2019      0.00009659   0.00588374   60.91609791

                                                  QUESTIONS?
                PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                  OR VISIT www.TezosFoundationSettlement.com
AA40723 v.10                                                      23
                     Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 35 of 46

                                                            TABLE 1:
                                                 Currency Conversion Closing Prices

            Date       BTC/XTZ      ETH/XTZ          ETH/BTC              Date        BTC/XTZ      ETH/XTZ       ETH/BTC
          9/7/2019     0.00009793   0.00577808      58.99949512        10/27/2019     0.00009162   0.00475008   51.84384498
          9/8/2019     0.00010248   0.00589987      57.57212175        10/28/2019     0.00009457   0.00479205   50.67420344
          9/9/2019     0.00010063   0.00574110      57.05200110        10/29/2019     0.00009322   0.00461748   49.53078701
         9/10/2019     0.00010083   0.00567329      56.26553201        10/30/2019     0.00009929   0.00494926   49.84422546
         9/11/2019     0.00009923   0.00565098      56.94830191        10/31/2019     0.00009680   0.00484053   50.00587052
         9/12/2019     0.00009702   0.00557949      57.50817589         11/1/2019     0.00009480   0.00477220   50.34027287
         9/13/2019     0.00009416   0.00538649      57.20584175         11/2/2019     0.00009282   0.00470575   50.69711303
         9/14/2019     0.00009654   0.00531604      55.06379246         11/3/2019     0.00009408   0.00476281   50.62407499
         9/15/2019     0.00009664   0.00526898      54.52189262         11/4/2019     0.00009475   0.00478537   50.50767332
         9/16/2019     0.00009731   0.00507331      52.13733448         11/5/2019     0.00009924   0.00489771   49.35303751
         9/17/2019     0.00010741   0.00527300      49.09290063         11/6/2019     0.00010896   0.00532387   48.85891748
         9/18/2019     0.00010688   0.00515635      48.24376744         11/7/2019     0.00013164   0.00649005   49.30077668
         9/19/2019     0.00010715   0.00497108      46.39556218         11/8/2019     0.00013288   0.00635145   47.79805657
         9/20/2019     0.00010411   0.00486127      46.69406100         11/9/2019     0.00014069   0.00670162   47.63324866
         9/21/2019     0.00010679   0.00496474      46.49090572        11/10/2019     0.00013583   0.00649145   47.79148195
         9/22/2019     0.00010526   0.00501064      47.60288348        11/11/2019     0.00013474   0.00636153   47.21435118
         9/23/2019     0.00010792   0.00520008      48.18403328        11/12/2019     0.00013272   0.00626204   47.18293727
         9/24/2019     0.00010355   0.00530983      51.27934091        11/13/2019     0.00012829   0.00600234   46.78774036
         9/25/2019     0.00010074   0.00500308      49.66346773        11/14/2019     0.00014010   0.00655914   46.81774194
         9/26/2019     0.00010486   0.00510618      48.69531578        11/15/2019     0.00013778   0.00648128   47.04182362
         9/27/2019     0.00010851   0.00512512      47.23169824        11/16/2019     0.00013566   0.00632670   46.63626943
         9/28/2019     0.00010838   0.00511928      47.23560749        11/17/2019     0.00013523   0.00626621   46.33740277
         9/29/2019     0.00010956   0.00520764      47.53190616        11/18/2019     0.00014803   0.00681214   46.01955029
         9/30/2019     0.00010894   0.00502326      46.11035748        11/19/2019     0.00014867   0.00687479   46.24225178
         10/1/2019     0.00011430   0.00537745      47.04680275        11/20/2019     0.00015074   0.00688674   45.68736483
         10/2/2019     0.00011237   0.00521918      46.44480106        11/21/2019     0.00015832   0.00749412   47.33525331
         10/3/2019     0.00011323   0.00533821      47.14606164        11/22/2019     0.00016720   0.00811872   48.55646503
         10/4/2019     0.00011251   0.00521654      46.36386237        11/23/2019     0.00018789   0.00906010   48.21926737
         10/5/2019     0.00011195   0.00517457      46.22341934        11/24/2019     0.00019013   0.00938178   49.34481551
         10/6/2019     0.00010978   0.00506731      46.15832659        11/25/2019     0.00017352   0.00846532   48.78570453
         10/7/2019     0.00010996   0.00500406      45.50814063
         10/8/2019     0.00010934   0.00494289      45.20810900
         10/9/2019     0.00010970   0.00487830      44.47069171
        10/10/2019     0.00010657   0.00477426      44.80053219
        10/11/2019     0.00010985   0.00500693      45.58120173
        10/12/2019     0.00010713   0.00493889      46.10164243
        10/13/2019     0.00010860   0.00496318      45.69974736
        10/14/2019     0.00011239   0.00503458      44.79402011
        10/15/2019     0.00011058   0.00500181      45.23107877
        10/16/2019     0.00010897   0.00498249      45.72200443
        10/17/2019     0.00011054   0.00503198      45.51991237
        10/18/2019     0.00011009   0.00505585      45.92333833
        10/19/2019     0.00010831   0.00500414      46.20068244
        10/20/2019     0.00010672   0.00499879      46.84145160
        10/21/2019     0.00010571   0.00498189      47.12851589
        10/22/2019     0.00010381   0.00486695      46.88450377
        10/23/2019     0.00010131   0.00468791      46.27259852
        10/24/2019     0.00010252   0.00473727      46.20762163
        10/25/2019     0.00009638   0.00459871      47.71209784
        10/26/2019     0.00008999   0.00462630      51.40663923

                                                  QUESTIONS?
                PLEASE CALL (866) 977-1042 OR OUTSIDE THE U.S. AND CANADA CALL (503) 597-7670
                                  OR VISIT www.TezosFoundationSettlement.com
AA40724 v.10                                                      24
                 Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 36 of 46

                                             In re Tezos Securities Litigation
                                                         c/o Epiq
                                                      P.O. Box 3770
                                                Portland, OR 97208-3770
                                     U.S & Canada Toll-Free Number: (866) 977-1042
                                          International Number: (503) 597-7670
                                      Email: info@TezosFoundationSettlement.com
                                      Website: www.TezosFoundationSettlement.com
                                            PROOF OF CLAIM AND RELEASE

    TO BE ELIGIBLE TO RECEIVE A SHARE OF THE NET SETTLEMENT FUND IN CONNECTION WITH THE
    PROPOSED SETTLEMENT OF THIS ACTION, YOU MUST EITHER (A) MAIL A COMPLETED AND SIGNED
    PROOF OF CLAIM AND RELEASE FORM (“CLAIM FORM”) TO THE ABOVE ADDRESS VIA PREPAID, FIRST
    CLASS MAIL, POSTMARKED ON OR BEFORE OCTOBER 16, 2020, OR (B) COMPLETE AND SUBMIT THE
    CLAIM FORM THROUGH THE SETTLEMENT WEBSITE, WWW.TEZOSFOUNDATIONSETTLEMENT.COM, ON
    OR BEFORE OCTOBER 16, 2020.
    FAILURE TO MAIL OR SUBMIT YOUR CLAIM FORM BY THE DATE SPECIFIED WILL SUBJECT YOUR
    CLAIM TO REJECTION AND MAY PRECLUDE YOU FROM BEING ELIGIBLE TO RECEIVE ANY MONEY
    IN CONNECTION WITH THE PROPOSED SETTLEMENT.
    DO NOT MAIL OR DELIVER YOUR CLAIM FORM TO THE COURT, THE PARTIES TO THE
    ACTION, OR THEIR COUNSEL. SUBMIT YOUR CLAIM FORM ONLY TO THE CLAIMS
    ADMINISTRATOR AT THE ADDRESS SET FORTH ABOVE OR THROUGH THE WEBSITE AT
    WWW.TEZOSFOUNDATIONSETTLEMENT.COM.
    PART I – GENERAL INSTRUCTIONS
             1.      It is important that you completely read and understand the Notice of (I) Pendency of Class Action
    and Proposed Settlement; (II) Settlement Fairness Hearing; and (III) Motion for an Award of Attorneys’ Fees and
    Reimbursement of Litigation Expenses (the “Notice”) that accompanies this Claim Form, including the Plan of
    Allocation of the Net Settlement Fund set forth in the Notice. The Notice describes the proposed Settlement, how
    Settlement Class Members are affected by the Settlement, and the manner in which the Net Settlement Fund will
    be distributed if the Settlement and Plan of Allocation are approved by the Court. The Notice also contains the
    definitions of many of the defined terms (which are indicated by initial capital letters) used in this Claim Form.
    By signing and submitting this Claim Form, you will be certifying that you have read and that you understand the
    Notice, including the terms of the releases described therein and provided for herein.
            2.       By submitting this Claim Form, you will be making a request to share in the proceeds of the Settlement
    described in the Notice. IF YOU ARE NOT A SETTLEMENT CLASS MEMBER (see the definition of the Settlement
    Class on page 7 of the Notice, which sets forth who is included in and who is excluded from the Settlement Class),
    OR IF YOU, OR SOMEONE ACTING ON YOUR BEHALF, SUBMITTED A REQUEST FOR EXCLUSION
    FROM THE SETTLEMENT CLASS, DO NOT SUBMIT A CLAIM FORM. YOU MAY NOT, DIRECTLY OR
    INDIRECTLY, PARTICIPATE IN THE SETTLEMENT IF YOU ARE NOT A SETTLEMENT CLASS
    MEMBER. THUS, IF YOU ARE EXCLUDED FROM THE SETTLEMENT CLASS, ANY CLAIM FORM THAT
    YOU SUBMIT, OR THAT MAY BE SUBMITTED ON YOUR BEHALF, WILL NOT BE ACCEPTED.
            3.        Submission of this Claim Form does not guarantee that you will share in the proceeds of the
    Settlement. The distribution of the Net Settlement Fund will be governed by the Plan of Allocation set forth in
    the Notice, if it is approved by the Court, or by such other plan of allocation as the Court approves.
             4.      Use Part III of this form to set forth your transactions related to your Tezos Contributions between
    July 1, 2017 and July 13, 2017. Provide all of the requested information with respect to your holdings, purchases,
    acquisitions, and sales of XTZ, whether such transactions resulted in a profit or a loss. Failure to report all transaction
    and holding information during the requested time period may result in the rejection of your claim.
            5.      You are required to submit genuine and sufficient documentation for all of your transactions in and
    holdings of XTZ set forth in the Schedule of Transactions in Part III of this Claim Form. The Parties and the Claims
    Administrator do not independently have information about your investments in XTZ, other than what is available
    through the blockchain. IF SUCH DOCUMENTS ARE NOT IN YOUR POSSESSION, PLEASE OBTAIN COPIES
    OR EQUIVALENT DOCUMENTS FROM YOUR BROKER. FAILURE TO SUPPLY THIS DOCUMENTATION
    MAY RESULT IN THE REJECTION OF YOUR CLAIM. DO NOT SEND ORIGINAL DOCUMENTS. Please
    keep a copy of all documents that you send to the Claims Administrator. Also, please do not highlight any
    portion of the Claim Form or any supporting documents.

01-CA5150
AA4081 v.11                                                     1
                   Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 37 of 46


            6.     Separate Claim Forms should be submitted for each separate legal entity (e.g., a claim from joint
    owners should not include separate transactions of just one of the joint owners). Conversely, a single Claim Form
    should be submitted on behalf of one legal entity including all transactions made by that entity on one Claim Form,
    no matter how many separate accounts or transactions that entity has.
           7.       Agents, executors, administrators, guardians, and trustees must complete and sign the Claim Form
    on behalf of persons represented by them, and they must:
                     (a) expressly state the capacity in which they are acting;
                     (b) identify the name, account number, Social Security number (or taxpayer identification number),
                         address and telephone number of the beneficial owner of (or other person or entity on whose
                         behalf they are acting with respect to) the XTZ; and
                     (c) furnish herewith evidence of their authority to bind to the Claim Form the person or entity on
                         whose behalf they are acting.
              8.     By submitting a signed Claim Form, you will be swearing that you:
                     (a) own(ed) the XTZ you have listed in the Claim Form; or
                     (b) are expressly authorized to act on behalf of the owner thereof.

             9.       By submitting a signed Claim Form, you will be swearing to the truth of the statements contained
    therein and the genuineness of the documents attached thereto, subject to penalties of perjury under the laws of the
    United States of America. The making of false statements, or the submission of forged or fraudulent documentation,
    will result in the rejection of your claim and may subject you to civil liability or criminal prosecution.
              10.     If the Court approves the Settlement, payments to eligible Authorized Claimants pursuant to the Plan
    of Allocation (or such other plan of allocation as the Court approves) will be made after any appeals are resolved,
    and after the completion of all claims processing. The claims process will take substantial time to complete fully and
    fairly. Please be patient.
              11.      PLEASE NOTE: As set forth in the Plan of Allocation, each Authorized Claimant shall receive his, her
    or its pro rata share of the Net Settlement Fund. If the prorated payment to any Authorized Claimant calculates to less than
    $10.00, it will not be included in the calculation and no distribution will be made to that Authorized Claimant.
             12.    If you have questions concerning the Claim Form, or need additional copies of the Claim
    Form or the Notice, you may contact the Claims Administrator, Epiq, at the above address, by email at
    info@TezosFoundationSettlement.com, by toll-free phone from the U.S. and Canada at (866) 977-1042, by
    toll-free phone from outside of the U.S. and Canada at (503) 597-7670, or you can visit the Settlement website,
    www.TezosFoundationSettlement.com, where copies of the Claim Form and Notice are available for downloading.
                                               IMPORTANT: PLEASE NOTE
    YOUR CLAIM IS NOT DEEMED FILED UNTIL YOU RECEIVE AN ACKNOWLEDGEMENT EMAIL.
    THE CLAIMS ADMINISTRATOR WILL ACKNOWLEDGE RECEIPT OF YOUR CLAIM FORM BY
    EMAIL, WITHIN 60 DAYS. IF YOU DO NOT RECEIVE AN ACKNOWLEDGEMENT EMAIL WITHIN 60
    DAYS, PLEASE CALL THE CLAIMS ADMINISTRATOR TOLL-FREE AT (866) 977-1042 OR OUTSIDE
    THE U.S. AND CANADA AT (503) 597-7670.
    The Claims Administrator will use this information for all communications regarding this Claim Form. If the
    information changes, you MUST notify the Claims Administrator at the address above.




02-CA5150
AA4082 v.11                                                      2
                  Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 38 of 46



    PART II – CLAMANT IDENTIFICATION
    PLEASE COMPLETE THIS PART II IN ITS ENTIRETY. THE CLAIMS ADMINISTRATOR WILL USE
    THIS INFORMATION FOR ALL COMMUNICATIONS REGARDING THIS CLAIM FORM. IF THIS
    INFORMATION CHANGES, YOU MUST NOTIFY THE CLAIMS ADMINISTRATOR IN WRITING AT
    THE ADDRESS ABOVE.

    Beneficial Owner’s First Name                                 MI      Beneficial Owner’s Last Name


    Co-Beneficial Owner’s First Name                              MI      Co-Beneficial Owner’s Last Name


    Entity Name (if Beneficial Owner is not an individual)


    Representative or Custodian Name (if different from Beneficial Owner(s) listed above)


    Address 1 (street name and number)


    Address 2 (apartment, unit or box number)


    City                                                                                       State        ZIP Code


    Country


    Last four digits of Social Security Number or Taxpayer Identification Number (if applicable)


    Primary Phone Number                                                  Alternate Phone Number
                  –               –                                                   –                –
    Email Address


    Claimant Account Type

         Individual (includes joint owner accounts)          Other (please specify)

         Corporation




03-CA5150
AA4083 v.11                                                         3
                  Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 39 of 46

                                   In re Tezos Securities Litigation Payment Election Form
    A. Payment by Check
    If you choose this option, we will utilize the name and address information provided on Page 3.
    B. Payment by Wire Transfer
    Complete this section if you want to receive any potential payment via Wire transfer.
    Domestic        International
    Beneficiary Bank Name


    Beneficiary Bank ABA Routing Number


    Beneficiary Account Name


    Beneficiary Account Number


    Beneficiary IBAN


    Beneficiary Bank SWIFT Code


    Beneficiary Address


    Beneficiary City


    Beneficiary Country


    For Further Credit Account Name (if any)


    For Further Credit Account Number (if any)


    Other Special Instructions (if any)


    Intermediary Bank Name (if any)


    Intermediary Bank ABA Routing Number (if any)       Intermediary SWIFT Code (if any)



    C. Payment by PayPal
    Complete this section if you want to receive any potential payment via PayPal transfer.
    PayPal Customer Information:
    Recipient ID (Email Address)




04-CA5150
AA4084 v.11                                                  4
PART III – TEZOS TRANSACTIONS
Complete this Part III if, and only if, you contributed digital currencies to the Tezos blockchain “Initial Coin Offering” conducted between July 1, 2017 and July 13, 2017
(“Tezos ICO”). During the Claims Process, the Claims Administrator may email you with instructions to confirm your ownership of the BTC or ETH address that made
the July 2017 Tezos Contribution. If you no longer have ownership or control of this address, please provide documentation sufficient to show evidence of the fiat currency
used to acquire the BTC or ETH that was used to make your July 2017 Tezos Contribution.

STEP 1.
PLEASE SET FORTH YOUR TEZOS CONTRIBUTIONS BETWEEN JULY 1, 2017 AND JULY 13, 2017 IN THE TABLE BELOW.

Date of Contribution         Type of Crypto Contributed   Amount of Crypto Contribution (please include decimal points)
(MMDDYY)                           (BTC or ETH)


Address from Which Crypto Was Contributed


TZ1 Address for Allocation


Amount of XTZ Allocated (please include decimal points)


Do You Have Access to the Address from Which Crypto Was Contributed?
(Y/N)
                                                                                                                                                                         Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 40 of 46




        05-CA5150
        AA4085 v.11                                                                     5
STEP 2.
INDICATE HOW MANY OF THE XTZ YOU WERE ALLOCATED AS PART OF YOUR CONTRIBUTIONS BETWEEN JULY 1, 2017 AND JULY 13, 2017
ARE IN THE FOLLOWING CATEGORIES:
XTZ you sold on or before 6:32 a.m. PST on November 25, 2019 (If you enter a number greater than 0, please fill out Step 3A. Please also include decimal points.)


XTZ you continued to hold at 6:32 a.m. PST on November 25, 2019 (If you enter a number greater than 0, please proceed to Step 3B. Please also include decimal points.)


XTZ you never accessed and do not intend to access due to a lost private key or password, or due to an objection to providing “Know Your Customer” information to the Foundation. (If
you enter a number greater than 0, please fill out Step 3C. Please also include decimal points.)


        THE TOTAL XTZ IN THE ABOVE THREE FIELDS SHOULD EQUAL THE TOTAL NUMBER OF XTZ DESCRIBED IN STEP 1.
STEP 3A.
PLEASE PROVIDE INFORMATION INDICATING THE DATE AND TIME YOU SOLD XTZ AND DOCUMENTATON SHOWING EVIDENCE OF EACH
SALE TRANSACTION.
                                                                                                    Currency of
Date                                                                                                 Transaction
                                    Number of XTZ Sold (please include decimal points)                                  Total Consideration Received (please include decimal points)
(MMDDYY)                                                                                          (BTC, ETH, USD,
                                                                                                        other)




STEP 3B.
PLEASE PROVIDE DOCUMENTATION SUFFICIENT TO SHOW EVIDENCE THAT YOU HELD THESE XTZ ON NOVEMBER 25, 2019, AT
6:32 A.M. PST.
                                                                                                                                                                                       Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 41 of 46




 IF YOU REQUIRE ADDITIONAL SPACE FOR THE TRANSACTIONAL INFORMATION ABOVE, ATTACH EXTRA PAGES IN THE SAME FORMAT.
 PRINT THE BENEFICIAL OWNER’S FULL NAME AND LAST FOUR DIGITS OF SOCIAL SECURITY/TAXPAYER IDENTIFICATION NUMBER (IF
 APPLICABLE) ON EACH ADDITIONAL PAGE.



       06-CA5150
       AA4086 v.11                                                                         6
                  Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 42 of 46



    STEP 3C.
    PLEASE READ THE FOLLOWING CAREFULLY. IN ORDER TO CLAIM A RECOGNIZED LOSS IN
    THIS CATEGORY, YOU MUST ATTEST TO THE FOLLOWING:
    I,                                             (“Claimant”), hereby declare:
              (1) that Claimant has not accessed, and does not intend to access, the XTZ at issue, either due to a lost
                  private key or password or due to an objection to providing “Know Your Customer” information to the
                  Foundation, and that no other entity has or has ever had access to their private key or password;
              (2) Claimant agrees
                         a.   to destroy all copies of the private key for the XTZ at issue, and
                         b.   to never access the XTZ at issue;
              (3) Claimant acknowledges that he, she or it forfeits any rights to the XTZ at issue and understands that the
                  Tezos community may vote to destroy such tokens;
              (4) Claimant agrees that, if the Claimant subsequently accesses the XTZ at issue in violation of Claimant’s
                  agreement not to do so, that the Claimant shall be liable to the Foundation for damages in the amount
                  of the USD value of the XTZ at the time of such access, plus any amounts expended by the Foundation
                  in seeking to enforce this provision, including without limitation attorneys’ fees, court costs, and other
                  expenses, all plus interest, to the maximum extent permitted by law; and
              (5) Claimant consents to the jurisdiction of the courts of California (for U.S. residents) or Switzerland (for
                  non-U.S. residents) with respect to any dispute regarding this provision.
                      I declare under penalty of perjury under the laws of the United States of America that the foregoing
                      is true and correct.

                       Executed on: Date             –          –
                                              MM         DD          YY


                      Signature:

    Note that the Tezos Foundation will monitor the accounts of Claimants who claim under this provision, and, in the
    event of a violation of this provision, has and reserves all rights to pursue legal claims against the Claimant.




07-CA5150
AA4087 v.11                                                     7
                   Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 43 of 46



    PART IV – RELEASE OF CLAIMS AND SIGNATURE
    YOU MUST ALSO READ THE RELEASE AND CERTIFICATION BELOW AND SIGN ON PAGE 9 OF
    THIS CLAIM FORM.
    I (we) hereby acknowledge that, pursuant to the terms set forth in the Stipulation, without further action by anyone,
    upon the Effective Date of the Settlement, I (we), on behalf of myself (ourselves), and my (our) heirs, executors,
    administrators, predecessors, successors, and assigns, in their capacities as such, shall be deemed to have, and by
    operation of law and of the judgment shall have, fully, finally, and forever compromised, settled, released, resolved,
    relinquished, waived and discharged each and every one of the Released Claims (including, without limitation,
    any Unknown Claims) against the Defendants and the other Released Defendants, and shall forever be barred and
    enjoined from prosecuting any or all of the Released Claims against any of the Released Defendants.
    CERTIFICATION
    By signing and submitting this Claim Form, the claimant(s) or the person(s) who represent(s) the claimant(s) agree(s)
    to the release above and certifies (certify) as follows:
            1.      that I (we) have read and understand the contents of the Notice and this Claim Form, including the
    releases provided for in the Settlement and the terms of the Plan of Allocation;
           2.       that the claimant(s) is a (are) Settlement Class Member(s), as defined in the Notice, and is (are) not
    excluded by definition from the Settlement Class as set forth in the Notice;
              3.     that the claimant has not submitted a request for exclusion from the Settlement Class;
            4.      that I (we) own(ed) the XTZ identified in the Claim Form and have not assigned the claim against any
    of the Defendants or any of the other Defendants’ Releasees to another, or that, in signing and submitting this Claim
    Form, I (we) have the authority to act on behalf of the owner(s) thereof;
           5.     that the claimant(s) has (have) not submitted any other claim covering the same purchases of XTZ
    and knows (know) of no other person having done so on the claimant’s (claimants’) behalf;
            6.      that the claimant(s) submit(s) to the jurisdiction of the Court with respect to claimant’s (claimants’)
    claim and for purposes of enforcing the releases set forth herein;
           7.       that I (we) agree to furnish such additional information with respect to this Claim Form as Class
    Counsel, the Claims Administrator or the Court may require;
          8.      that the claimant(s) waive(s) the right to trial by jury, to the extent it exists, and agree(s) to the Court’s
    summary disposition of the determination of the validity or amount of the claim made by this Claim Form;
           9.       that I (we) acknowledge that the claimant(s) will be bound by and subject to the terms of any
    judgment(s) that may be entered in the Action; and
             10.      that the claimant(s) is (are) NOT subject to backup withholding under the provisions of Section
    3406(a)(1)(C) of the Internal Revenue Code because (a) the claimant(s) is (are) exempt from backup withholding or
    (b) the claimant(s) has (have) not been notified by the IRS that he/she/it is subject to backup withholding as a result of
    a failure to report all interest or dividends or (c) the IRS has notified the claimant(s) that he/she/it is no longer subject
    to backup withholding. If the IRS has notified the claimant(s) that he/she/it is subject to backup withholding,
    please strike out the language in the preceding sentence indicating that the claim is not subject to backup
    withholding in the certification above.




08-CA5150
AA4088 v.11                                                      8
                  Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 44 of 46



    UNDER THE PENALTIES OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF AMERICA,
    I (WE) CERTIFY THAT ALL OF THE INFORMATION PROVIDED BY ME (US) ON THIS CLAIM FORM
    IS TRUE, CORRECT, AND COMPLETE, AND THAT THE DOCUMENTS SUBMITTED HEREWITH ARE
    TRUE AND CORRECT COPIES OF WHAT THEY PURPORT TO BE.

                                                                                     Date:            –           –
    Signature of Claimant
                                                                                              MM           DD          YY

    Print Claimant Name
    Here


                                                                                     Date:            –           –
    Signature of Joint
    Claimant (if any)                                                                         MM           DD          YY

    Print Name of Joint
    Claimant

    If the claimant is other than an individual, or is not the person completing this form, the following must also
    be provided:

    Signature of person                                                              Date:            –           –
    signing on behalf
    of Claimant                                                                               MM           DD          YY


    Print name of                                                                    Date:            –           –
    person signing on
    behalf of Claimant                                                                        MM           DD          YY

    Capacity of person signing on behalf of claimant, if other than an individual, e.g., executor, president, trustee, custodian, etc.
    (Must provide evidence of authority to act on behalf of claimant.)




    A Claim Form received by the Claims Administrator shall be deemed to have been submitted when posted, if a
    postmark date on or before October 16, 2020, is indicated on the envelope and it is mailed First Class, and addressed
    in accordance with the above instructions, or submitted online at www.TezosFoundationSettlement.com on on before
    October 16, 2020. In all other cases, a Claim Form shall be deemed to have been submitted when actually received
    by the Claims Administrator.

    You should be aware that it will take a significant amount of time to fully process all of the Claim Forms. Please be
    patient and notify the Claims Administrator of any change of address.

                                               In re Tezos Securities Litigation
                                                           c/o Epiq
                                                        P.O. Box 3770
                                                  Portland, OR 97208-3770
                                       U.S & Canada Toll-Free Number: (866) 977-1042
                                            International Number: (503) 597-7670
                                        Email: info@TezosFoundationSettlement.com
                                        Website: www.TezosFoundationSettlement.com




09-CA5150
AA4089 v.11                                                         9
Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 45 of 46




  EXHIBIT C
  Case 3:17-cv-06779-RS Document 257-1 Filed 07/28/20 Page 46 of 46




Website Ad Campaign Impression Totals

          Website                                 Impressions
   Google Display Network                          54,597,323
           Reddit                                  19,569,930
           Twitter                                 24,433,619
    Baidu Display Network                          15,145,134


          TOTAL:                                   98,600,872
